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                    Fabletics, Inc.
                  8
                  9                      UNITED STATES DISTRICT COURT
                 10                     CENTRAL DISTRICT OF CALIFORNIA
                 11                              WESTERN DIVISION
                 12 DENNIS BATEMAN, CHRISTIAN                 CASE NO. 2:25-cv-02200 SVW (AJRx)
                    BURES, MEGAN CARTER, JOHN
                 13 FORGAS, LANCE GOBLE, DANIEL               DECLARATION OF BRADLEY J.
                    GOLEZ, ELIZABETH GOSEIN-                  MULLINS IN SUPPORT OF
                 14 VASQUEZ, THOMAS HAMILTON,                 DEFENDANT FABLETICS, INC.’S
                    KELLI LANGTON, JESSICA SIAS,              NOTICE OF MOTION AND
                 15 and MAX REINISCH, individually and        MOTION TO COMPEL
                    on behalf of all others similarly         ARBITRATION
                 16 situated;,
                                                              [Notice of Motion and Motion,
                 17             Plaintiffs,                   Declaration of Matt Fojut, and
                                                              [Proposed] Order Filed Concurrently
                 18       v.                                  Herewith]
                 19 FABLETICS, INC.,                          Time:        June 23, 2025
                                                              Date:        1:30 p.m.
                 20             Defendant.                    Location:    Courtroom 10A
                 21
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                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
20729564.1
                          DECLARATION OF BRADLEY MULLINS ISO MOTION TO COMPEL ARBITRATION
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                  1         I, BRADLEY J. MULLINS, declare as follows:
                  2         1.    I am a partner through my professional corporation at Mitchell
                  3 Silberberg & Knupp LLP (“MSK”), counsel of record for Defendant Fabletics, Inc.
                  4 (“Fabletics”) in the above-captioned matter. Unless otherwise indicated, I have
                  5 personal knowledge of the following facts and, if called and sworn as a witness,
                  6 could and would competently testify thereto.
                  7         2.    Attached hereto as Exhibit A is a true and correct copy of the text of
                  8 the ADR Services, Inc. Arbitration Rules, effective as of January 29, 2021 through
                  9 October 6, 2024.
                 10         3.    Attached hereto as Exhibit B is a true and correct copy of the text of
                 11 the ADR Services, Inc. Arbitration Rules, effective as of October 7, 2024.
                 12         4.    Attached hereto as Exhibit C is a true and correct copy of the text of
                 13 the American Arbitration Association Commercial Arbitration Rules, effective as
                 14 of October 1, 2013. These Rules were effective in 2019 and 2020.
                 15         5.    Attached hereto as Exhibit D is a true and correct copy of the text of
                 16 the American Arbitration Association Consumer-Related Disputes Supplementary
                 17 Procedures, effective as of September 15, 2005. These Rules were effective in
                 18 2019 and 2020.
                 19         I declare under penalty of perjury under the laws of the State of California
                 20 that the foregoing is true and correct.
                 21         Executed on May 19, 2025, at Los Angeles, California.
                 22
                 23                                           ___________________________________
                 24                                                     Bradley J. Mullins

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    Mitchell     28
  Silberberg &
   Knupp LLP
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20729564.1
                            DECLARATION OF BRADLEY MULLINS ISO MOTION TO COMPEL ARBITRATION
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                        EXHIBIT A




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                                    ARBITRATION RULES

 1. Agreement of the Parties
 The parties shall be deemed to have made these rules a part of their arbitration agreement whenever their
 arbitration contract provides for arbitration before ADR Services, Inc. (hereafter “ADR Services”), or
 whenever the parties have otherwise agreed to the applicability of these rules. The Rules, and any
 amendment thereof, which shall apply to the arbitration will be those in effect at the time the demand for
 arbitration, submission agreement or court order is received by ADR Services. The parties may, by written
 agreement, vary the procedures set forth in these rules. The term "Party" as used in these Rules includes
 parties to the arbitration as well as their counsel or representative.

 2. Procedural Modifications
 The arbitral authority of ADR Services is as set forth in the agreement of the parties and in these rules, and
 may be carried out through ADR Services’ representatives as it may direct. The parties may agree on any
 procedures not specified in these rules that are consistent with the applicable law and ADR Services
 policies. The parties shall promptly notify the ADR Services Case Manager of any such party-agreed
 procedures and shall confirm such procedures in writing. The party-agreed procedures shall be enforceable
 as if contained in these rules.

 3. Amendment of Rules
  ADR Services may amend these rules without notice. If the parties have agreed to use these rules by
 contract or stipulation, the rules in effect on the date of the commencement (see Rule 5 below) of an
 arbitration shall apply to that arbitration, unless the parties have specified another earlier version of the
 rules. The current and archived versions of the rules are available on ADR Services’ website at
 www.adrservices.com/arbitration-rules.

 4. Conflict with Law and Severability
 If any of these rules, or a modification of these rules as agreed upon by the parties, is determined by the
 arbitrator to be in conflict with applicable law, the provision of law will govern, and no other rule will be
 affected.

 5. Commencing an Arbitration
 There are three ways to commence an arbitration with ADR Services: By Demand; By Stipulation; and By
 Court Order.

         A) By Demand:
          An arbitration may be commenced by submitting the “Demand for Arbitration” form. A demand
 occurs when a party to a contract with an arbitration clause that names ADR Services or these rules serves
 a written Demand for Arbitration concurrently on ADR Services and the opposing party(ies). This form is
 available on ADR Services’ website at www.adrservices.com/services/forms.

                  1. The initiating party (the “claimant”) shall, within the time period, if any, specified in the
 contract(s), give to the other party (the “respondent”) written notice of its intention to arbitrate (the
 “demand”), which demand shall contain a statement setting forth the nature of the dispute, the names and
 addresses of all other parties, the amount involved, if any, the claims and remedies sought, and the hearing
 locale requested. The claimant shall file at any office of ADR Services a hard copy of the demand together


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                                   ARBITRATION RULES
 with a copy of the applicable arbitration provision(s) of the contract and a copy of any complaint previously
 filed with the court. Where the respondent is already represented by counsel, notice of the demand provided
 to such counsel shall be deemed notice to the respondent.

                  2. ADR Services will confirm receipt of the demand by issuing a Commencement Letter to
 the parties outlining the procedure for continuing with initiation of the arbitration. The date of
 commencement of the arbitration is the date of the Commencement Letter for the procedures set forth in
 these rules only. It is not intended to supersede any legal requirements such as the statute of limitations,
 any contractual limitations period or claims notice requirements.

                  3. Within fifteen (15) calendar days after service of the Commencement Letter, a
 respondent may submit to ADR Services and serve on all other parties an answering statement and, if
 applicable, a statement of any affirmative defenses and/or counterclaims. The respondent shall, at the same
 time as any such filing, send a copy of the answering statement, a statement of affirmative defenses or a
 counterclaim to the claimant. If a counterclaim is asserted, it shall contain a statement setting forth the
 nature of the counterclaim, the amount involved, if any, and the remedies sought. Within fifteen (15)
 calendar days of service of a counterclaim, a claimant may submit to ADR Services and serve on other
 parties a response to such counterclaim. If no answering statement is filed within the stated time,
 respondent will be deemed to deny the claim or counterclaim and consent to arbitration. ADR Services
 reserves the right to extend the deadline for the filing of an answering statement or a counterclaim upon
 written request. Failure to file an answering statement shall not operate to delay the arbitration, which shall
 proceed after fifteen (15) calendar days (or any granted extension) regardless of whether an answering
 statement has been submitted.

         B) By Stipulation:
         An arbitration may be jointly commenced via submission (stipulation) in the following manner:

                   1. The submission to ADR Services of a post-dispute arbitration agreement fully executed
 by all parties that specifies ADR Services administration or use of any ADR Services rules; or

                 2. The oral agreement of all parties to participate in an arbitration administered by ADR
 Services or conducted pursuant to any ADR Services rules, confirmed in writing by all parties; or

                   3. By filing at any office of ADR Services a copy of a written submission to arbitrate under
 these rules, signed by all parties. It shall contain a statement of the nature of the dispute, the names and
 addresses of all parties, any claims and counterclaims, the amount involved, if any, the remedy sought, and
 the hearing locale requested. Unless the parties state otherwise in the submission, all claims and
 counterclaims will be deemed to be denied by the other party.

         C) By Court Order:
         An arbitration may also be commenced via submission of a Court Order compelling arbitration. The
 Court Order shall be submitted to ADR Services together with a copy of the parties’ arbitration agreement
 as well as any Complaint, Answer, Cross-Complaint or other pleading filed with the Court, which shall be
 presumed to be the operative pleadings for the arbitration unless otherwise specified by the parties.

          D) When arbitration has been commenced by stipulation or court order, ADR Services will send:
 (1) a Commencement Letter if no arbitrator has been agreed upon or appointed; or (2) an Initiation of
 Arbitration Letter/Packet setting forth the next steps to move forward with administration of the matter where
 an arbitrator has been pre-selected.


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                                   ARBITRATION RULES
 6. Notice of Claims, Counterclaims and Affirmative Defenses
  Each party shall provide reasonable and timely notice to the arbitrator and other parties of all claims,
 remedies/relief sought, counterclaims and affirmative defenses that will be asserted in the matter. Notice
 may be provided: (a) in the Demand for Arbitration, answering statement and/or counterclaim; (2) by
 attaching a copy of any previously filed Complaint, Answer or Cross-Complaint; or (c) by attaching a
 separate Statement of Claims or Counterclaims. The notice shall include a brief description of the factual
 basis for each claim, affirmative defense and/or counterclaim. No claim, remedy, counterclaim or affirmative
 defense will be considered by the arbitrator in the absence of such prior notice, which is to be provided no
 later than ninety (90) calendar days before the initial date for arbitration, unless the arbitrator determines
 that no unfair prejudice has occurred or all parties agree that such consideration is appropriate
 notwithstanding the lack of prior notice.

 7. Changes of Claim
  After filing a claim, if either party desires to make any new or different claim or counterclaim, it shall be
 made in writing and filed with ADR Services. The party asserting such a new or different claim or
 counterclaim shall provide a copy to the other party, who shall have fifteen (15) calendar days from the date
 of such transmission within which to file an answering statement with ADR Services. If no answering
 statement is filed, the respondent will be deemed to have denied the claim. After the arbitrator is appointed,
 however, no new or different claim may be submitted except with the arbitrator’s consent.

 8. Jurisdiction
  Unless the issue of arbitrability has been previously determined by the court, the arbitrator shall have the
 power to rule on his or her own jurisdiction, including any objections with respect to the existence, scope or
 validity of the arbitration agreement. In addition, the arbitrator shall have the power to determine the
 existence or validity of a contract of which an arbitration clause forms a part. Such an arbitration clause
 shall be treated as an agreement independent of the other terms of the contract. A decision by the arbitrator
 that the balance of the contract is void shall not for that reason alone render invalid the arbitration clause.
 A party must object to the jurisdiction of the arbitrator or to the arbitrability of a claim or counterclaim no
 later than the filing of the answering statement to the claim or counterclaim that gives rise to the objection.
 The arbitrator may rule on such objections as a preliminary matter or as part of the final Award.

 9. Administrative Conference
  ADR Service may, at its discretion, contact the parties by telephone or email to discuss procedural matters
 such as the pleadings or notice of claim sequence, arbitrator selection, locale and the needs and
 expectations of the parties in conjunction with the arbitration process. ADR Services or the parties may
 request additional telephonic conferences as necessary.

 10. Fixing of Locale
  The parties should mutually agree on the locale where the arbitration is to be held. If any party requests or
 has demanded that the hearing be held in a specific locale, the other party may object at any time by
 contacting ADR Services and providing notice to the other party. If no objection is received within fifteen
 (15) calendar days after notice that a demand or request has been submitted to ADR Services, the locale
 shall be the one requested. The 15-day period is not tolled pending issuance a Commencement Letter from
 ADR Services. If a party promptly objects to the locale requested by the other party, ADR Services shall
 have the power to determine the locale, and its decision shall be final and binding.


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                                   ARBITRATION RULES
 11. Arbitrator Selection and Appointment
  Arbitrations shall be conducted by one neutral arbitrator unless all Parties agree otherwise. In cases
 involving more than one arbitrator, the Parties shall agree on a neutral arbitrator who shall serve as
 chairperson for the panel. In the absence of an agreement, the other neutral arbitrators shall designate the
 chairperson for the arbitration panel. If the parties and the arbitrators agree, the chairperson may, acting
 alone, resolve discovery disputes and rule on other procedural matters.

  If the agreement of the parties names an arbitrator or specifies a method of appointing an arbitrator, that
 designation or method shall be followed. The notice of appointment, with the name and address of the
 arbitrator, shall be filed with ADR Services by the appointing party. If the agreement specifies a period of
 time within which an arbitrator shall be appointed and any party fails to make the appointment within that
 period, the appointment shall be made by ADR Services pursuant to the strike and rank process set forth
 below. If no period of time is specified in the agreement, ADR Services shall notify the parties to make the
 appointment. If within fifteen (15) calendar days after such notice has been sent, an arbitrator has not been
 appointed by a party, ADR Services shall make the appointment in accordance with the strike and rank
 process below.

  Unless the Arbitrator has been previously selected by agreement of the parties, ADR Services may attempt
 to facilitate agreement among the parties regarding selection of the arbitrator. If the parties have not
 appointed an arbitrator and have not provided any other method of appointment, the arbitrator shall be
 appointed in the following manner:

          A) Following the filing of the submission to arbitration or the answering statement or the expiration
 of the time within which the answering statement is to be filed, ADR Services shall send simultaneously to
 each party to the dispute an identical list of names of persons chosen from the panel. The list shall contain
 a minimum of seven (7) names. The parties are encouraged to agree to an arbitrator from the submitted
 list and to advise ADR Services of their agreement. If the parties have agreed upon, or their agreement
 provides, specific criteria for the list (e.g., retired judges only, or a combination of retired judges and
 attorneys, from a particular panel), the parties shall notify ADR Services either in the demand for arbitration
 or within ten (10) calendar days after ADR Services sends the Commencement Letter.

           B) If the parties are unable to agree upon an arbitrator, each party to the dispute shall have fifteen
 (15) business days from the transmittal date of the list of arbitrators in which to strike up to three (3) names
 objected to, number the remaining names in order of preference, and return the list to ADR Services. If a
 party does not return the list within the time specified, all persons named therein shall be deemed
 acceptable and ADR Services shall appoint the arbitrator identified as most acceptable by the party who
 returned the list. If the parties fail to agree on any of the persons named, ADR Services shall appoint the
 arbitrator that was most acceptable to the parties as indicated by their preferences. If the ranking of the
 parties’ preferences results in a “tie” between two or more selected arbitrators, ADR Services shall make
 the appointment from amongst those preferred arbitrators. If the most preferred arbitrator(s) are unable to
 act, or if for any other reason the appointment cannot be made, the next most acceptable arbitrator(s) as
 indicated by the parties’ preferences shall be selected without the provision or submission of additional lists.

          C) Entities whose interests are not adverse with respect to the issues in dispute shall be treated as
 a single party for purposes of the arbitrator selection process. ADR Services shall determine whether the
 interests between entities are adverse for purposes of arbitrator selection, considering such factors as
 whether the entities are represented by the same attorney and whether the entities are presenting joint or
 separate positions at the arbitration.



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                                    ARBITRATION RULES
          D) Any disclosures required by law to be made by a selected arbitrator shall be served by electronic
 mail to the counsel of record for each represented party within ten (10) calendar days from the notice of the
 proposed nomination or appointment. The parties have fifteen (15) calendar days after the service of the
 proposed arbitrator’s disclosure statement to object to the appointment of the arbitrator based upon the
 disclosures made. If no written objection is received by ADR Services within that time frame, it is considered
 waived.

         E) At any time before the conclusion of the arbitration proceeding, a party may challenge the
 continued service of an arbitrator on any of the “judicial-type” grounds listed in Code of Civil Procedure
 Section 170.1. The challenge must be based upon information that was not available to the parties at the
 time the arbitrator was selected. A challenge for cause must be in writing and exchanged with opposing
 parties who may respond within seven (7) days of service of the challenge.

 12. Notice of Appointment and Disclosures
  Notice of the appointment of the neutral arbitrator, whether the appointment has been made by contract,
 mutually by the parties or by ADR Services, shall be sent to the arbitrator by ADR Services, together with
 a copy of these rules prior to the opening of the first hearing. Pursuant to the relevant code sections in force
 at the time of the appointment of the arbitrator, any person appointed as a neutral arbitrator shall disclose
 to ADR Services any circumstance likely to affect his or her impartiality or independence. Upon receipt of
 such information from the arbitrator or another source, ADR Services shall communicate the information to
 the parties and, if it deems it appropriate to do so, to the arbitrator and others.

  Upon objection of a party to the continued service of a neutral arbitrator, including a request for recusal or
 disqualification, an order will be issued by the arbitrator referring the objecting party to submit the issue to
 the assigned trial court if there is a pending case, or to petition a court of applicable jurisdiction if there is
 no pending case, for final determination, which shall be conclusive.

  When engaging the services of ADR Services, the Parties are asked to provide information regarding the
 dispute at issue, including all persons or entities involved and their counsel or representatives. This
 information is relied upon by ADR Services in preparing and issuing the necessary disclosures. ADR
 Services does not investigate, research or question the validity or accuracy of this information.

  It is the responsibility of Counsel to ensure that ADR Services is provided on an ongoing basis with the
 most complete, accurate, and current information relating to their matter. This includes identifying any and
 all parties, entities and attorneys who will be involved throughout the process.

 13. Service
  Service under these rules is accomplished by providing one copy of the document with original signatures
 to each party and one copy to the case manager on behalf of the arbitrator. Service may be made by hand-
 delivery, overnight delivery service or U.S. mail. Service by facsimile or electronic mail will be deemed
 sufficient if based upon a previous agreement of the parties or their counsel and notice of the agreement is
 provided to ADR Services.

 Service by hand-delivery, overnight delivery service or U.S. mail shall be considered effective upon the
 date of deposit of the document. When the method of service is by the U.S. Mail only, three (3) calendar
 days shall be added to the prescribed period for service within California and five (5) calendar days for mail
 outside of California.



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                                   ARBITRATION RULES
  Service by facsimile or electronic mail is considered effective upon transmission, but only if followed within
 one week of delivery by service of an appropriate number of copies and originals by one of the other service
 methods described above. Service by facsimile or electronic mail only, with no need to provide additional
 copies, will be considered effective only upon written agreement of the parties.

 Service will be deemed sufficient if the documents are sent to the last known mailing address or email
 address given on any document presented by a self-represented party or a party’s attorney. It is the party’s
 or attorney's duty to submit and serve a notice of change of address or email address to ADR Services and
 all other parties or counsel while the matter is pending. ADR Services relies upon the contact information
 provided by the parties and is not responsible for a challenge to the Award based on lack of proper notice.

 ADR Services shall serve all arbitrator disclosures to the counsel of record for represented parties by
 electronic mail.

 The Award shall be served by certified mail.

  Unless otherwise instructed by ADR Services or by the arbitrator, any documents submitted by any party
 to ADR Services or to the arbitrator shall simultaneously be provided to the other party or parties to the
 arbitration.

 14. Service by Publication
 Where a thorough, systematic search and inquiry for the whereabouts of the respondent or other party has
 been conducted and unsuccessful attempts to serve by another approved method have failed, the serving
 party may seek a court order allowing the demand for arbitration and other related documents to be served
 by publication in accordance with Code of Civil Procedure Section 415.50. The court order along with proof
 of publication shall be submitted to ADR Services.

  15. Electronic Submission and Transmission
 ADR Services sends and receives documents via electronic mail. All documents sent by electronic mail
 will be deemed submitted with ADR Services if transmitted no later than 6:00 p.m., Pacific Standard Time.
 Proof of transmission is sufficient to raise a rebuttable presumption that service was accomplished in the
 ordinary course.

  When a document to be submitted requires a signature of an attorney or a self-represented party, not
 under penalty of perjury, the document shall be deemed to have been signed by that attorney or self-
 represented party if submitted electronically. The signature block shall set forth the typed name, address
 and telephone number of a signing attorney or self-represented party.

  When a document to be submitted must be signed under penalty of perjury of any person: (1) the party
 submitting the document must obtain the signatures of all parties on a printed form of the document either
 prior to or the same day as the date of submission; (2) the party filing the document must maintain the
 original, signed document and must make it available for inspection and copying; and (3) by electronically
 submitting the document, the submitting party indicates that all necessary persons or parties have signed
 the document and that the submitting party has the document bearing the original signature in his or her
 possession.

  Documents electronically transmitted by the arbitrator to the parties and/or their counsel shall be deemed
 signed by the arbitrator. (Civil Code §1633.7(a); CRC rule 2.257(e).)



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                                    ARBITRATION RULES
 16. Representation
  Where a party to the arbitration is a natural person, he or she may be represented by counsel of that party’s
 choosing or may represent themselves in propria persona. However, ADR Services reserves the right to
 decline to administer an arbitration in the event a party opts to proceed in propria persona. Where a party
 to the arbitration is a legal entity such as a corporation, limited liability company (LLC) or partnership, that
 entity party must be represented by counsel.

  Each Party shall give prompt written notice to the case manager and the other parties of the name, address,
 telephone number, fax number and email address of its counsel. Where a party is self-represented, he or
 she must provide ADR Services and all other parties with a valid mailing address (other than a post-office
 box) and a valid, regularly monitored email address for the receipt of any and all documents exchanged by
 the parties or sent by ADR Services throughout the duration of the arbitration.

  If there is a change in representation, the party shall give prompt written notice to the case manager and
 all other parties, including the name, address, telephone number, fax number and email address of the new
 attorney. The notice shall indicate that written consent of the former attorney, if any, as well as the new
 attorney was obtained for the substitution and shall state the effective date of the new representation.

 17. Attendance at Hearings
  The arbitrator and ADR Services shall maintain the privacy of the hearings unless the law provides to the
 contrary. Any party or representative having a direct interest in the arbitration is entitled to attend hearings.
 The arbitrator shall otherwise have the power to require the exclusion of any witness, other than a party or
 other essential person, during the testimony of any other witness. It shall be discretionary with the arbitrator
 to determine the propriety of the attendance of any other person other than a party and his/her/its
 representatives.

  The arbitrator may proceed with any hearing despite the absence of a party so long as that party received
 proper notice as set forth in rules 13 or 14 above and thereafter fails to respond or attend. However, the
 arbitrator may not grant relief or issue an Award based solely on the default or absence of the party. The
 party seeking relief bears the initial burden of establishing a right to such relief based upon a proper
 evidentiary showing. The Notice of Hearing shall specify if it will be conducted in person or telephonically.

 18. Withdrawal from Arbitration
  No party may terminate or withdraw from an arbitration after the appointment of the arbitrator except by
 written agreement of all parties to the arbitration. A party that asserts a claim or counterclaim may
 unilaterally withdraw that claim or counterclaim without prejudice by serving written notice on the other
 parties and on the arbitrator. However, the opposing parties may, within fifteen (15) calendar days of service
 of notice of the withdrawal of the claim or counterclaim, request that the Arbitrator order that the withdrawal
 be with prejudice.

 19. Communication with the Arbitrator
  No party and no one acting on behalf of any party shall communicate unilaterally (ex parte) concerning the
 arbitration with a neutral arbitrator or a candidate for neutral arbitrator. Any necessary ex parte
 communication with ADR Services, whether before, during or after the arbitration hearing, shall be
 conducted through the case manager.




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  20. Preliminary Hearing/Arbitration Management Conference
   At the request of any party or at the discretion of the arbitrator or ADR Services, the arbitrator may
 schedule as soon as practicable a preliminary hearing or arbitration management conference with the
 parties and/or their representatives. The preliminary hearing may be conducted by telephone at the
 arbitrator’s discretion. During the preliminary hearing, the parties and the arbitrator should discuss such
 issues as the future conduct of the case, including clarification of the issues, document exchange, a
 schedule for the hearings, discovery, the form of the Award, the length of the arbitration, and any other
 preliminary matters.

  21. Exchange of Information
  The parties shall cooperate in good faith to voluntarily, promptly and informally exchange all nonprivileged
 documents and other information relevant to the dispute or claim. Either party shall within fifteen (15)
 calendar days of receipt of notice of the arbitration hearing date, but no later than seventy (70) calendar
 days before arbitration, have the right to demand in writing that the other party provide a list of witnesses,
 including designation of expert witnesses, it intends to call and a list of documents it intends to introduce at
 the hearing provided that the demanding party provides such lists at the time of its demand. A copy of such
 demand and the demanding party's lists shall be served on the arbitrator. The responding party’s lists shall
 be served on the demanding party and the arbitrator pursuant to Rule 13 above fifteen (15) calendar days
 following the receipt of the demand. Where privileged documents have been withheld, the withholding party
 shall provide a privilege log. The arbitrator may modify these obligations at the preliminary conference (see
 Rule 31).

  All of the provisions of Code of Civil Procedure Section 1283.05 shall be conclusively deemed to be
 incorporated into, made a part of, and shall be applicable to, every agreement to arbitrate any dispute,
 controversy, or issue arising out of or resulting from any injury to, or death of, a person caused by the
 wrongful act or neglect of another.

  The arbitrator shall have the authority to order such discovery, by way of deposition, interrogatory,
 document production, or otherwise, as the arbitrator considers necessary to a full and fair exploration of the
 issues in dispute, consistent with the expedited nature of arbitration.

 With respect to arbitration of employment claims, the parties are entitled to discovery sufficient to
 adequately arbitrate their claims, including access to essential documents and witnesses, as determined
 by the arbitrator(s).

 The parties shall attempt to agree on the time, location and duration of the deposition(s), and if the parties
 do not agree these issues shall be determined by the arbitrator.

 Documents that have not been previously exchanged, or witnesses and experts not previously identified,
 may not be considered by the arbitrator at the hearing, unless agreed by the parties or upon a showing of
 good cause.

  The parties shall promptly notify the case manager when an unresolved dispute exists regarding discovery
 issues. The case manager shall arrange a conference with the arbitrator, either by telephone or in person,
 and the arbitrator shall decide the dispute.

 22. Pre-Arbitration Pleading Motions
 As in court proceedings, the arbitrator(s) may allow the parties to file and serve dispositive motions to
 obtain pre-arbitration rulings. This includes demurrers, motions to strike and motions for judgment on the

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 pleadings. In order to be considered, the motion must be “dispositive” – i.e., the moving party must show
 substantial cause that the motion is likely to succeed and dispose of or narrow the issues in the case.

 23. Interim Measures and Motions for Summary Judgment/Adjudication of a Claim
 or Issue
  The arbitrator may take whatever interim measures he or she deems necessary, including injunctive relief
 and measures for the protection or conservation of property and disposition of perishable goods. Such
 interim measures may take the form of an interim Award, and the arbitrator may require security for the
 costs of such measures. A request for interim measures addressed by a party to a judicial authority shall
 not be deemed incompatible with the agreement to arbitrate or a waiver of the right to arbitrate.

  A party or representative of a party may make a motion for summary judgment or summary adjudication
 of a particular claim or issue to be decided by the arbitrator. The moving party shall, after meeting and
 conferring with the other party as to a desired hearing date, contact the case manager to determine the
 arbitrator’s availability. If the parties are unable to agree to a hearing date, one will be selected by the
 arbitrator. Unless otherwise specified by the arbitrator, the briefing schedule shall comply with Code of Civil
 Procedure Section 437c.

 24. Emergency Provisional Relief
 Where a party seeks emergency provisional relief, such as a temporary restraining order, but an arbitrator
 or arbitration panel has not yet been appointed, the party shall promptly notify ADR Services and all other
 parties in writing that such relief will be sought.

 Notice may be given by facsimile, electronic mail or other reliable means. The written notice for an
 emergency order shall include the nature and basis of the relief sought and why the matter is appropriately
 handled on an emergency basis – i.e., a factual showing of irreparable harm, immediate danger, or any
 other statutory basis for granting relief.

  The notice must also be accompanied by a completed sworn declaration that includes one of the following:
 (a) that notice was given, including the date, time, manner, and name of the party informed, the relief sought,
 any response, and whether opposition is expected; (b) that the applicant in good faith attempted to inform
 the opposing party but was unable to do so, specifying the efforts made to inform the opposing party; or (c)
 that, for reasons specified, the applicant should not be required to inform the opposing party.

 ADR Services shall, within two (2) business days of receipt of notice as provided above, appoint a single
 emergency arbitrator to rule on the emergency application. The emergency arbitrator shall immediately
 disclose any ground likely to affect his or her impartiality based on the facts disclosed in the application.
 Any challenge to appointed emergency arbitrator must be made within one (1) business day of ADR
 Services’ notice of the appointment and disclosure.

  The emergency arbitrator shall notify the parties, no later than two (2) business days following the
 appointment, of the schedule and manner in which the emergency application will be considered. The
 proceeding may occur telephonically or in any other manner calculated to provide all parties with a
 reasonable opportunity to be heard. The emergency arbitrator shall have the authority to determine
 jurisdiction (see Rule 8, infra) and shall resolve any disputes regarding the applicability of this rule.

 If the emergency arbitrator is satisfied that the party seeking emergency relief has made a factual showing
 of irreparable harm, immediate danger, or any other statutory basis for granting relief, he or she may enter


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 an interim order granting the relief and stating the grounds therefor. As a condition of the relief granted, the
 emergency arbitrator may require the party seeking emergency relief to post a bond or other security.

 The emergency arbitrator shall retain the power to modify or reconsider the interim order until the
 appointment of an arbitrator or arbitration panel for consideration of the entire matter. The emergency
 arbitrator shall apportion the costs associated with the application, which may later be adjusted by the
 arbitrator or arbitration panel in issuing the final award.

  This rule is not intended to supplant or supersede the power of a judicial authority to issue such emergency
 relief. Where a party seeks emergency relief from the court, it shall not be in conflict with these rules or
 otherwise affect the right to arbitrate the dispute.

 25. Mediation
  At any stage of the proceedings, the parties may agree to conduct a mediation conference in order to
 facilitate settlement. Generally, the mediator should not be an arbitrator appointed to the case unless the
 parties so agree and execute the necessary stipulation available through ADR Services.

 26. Date, Time, and Place of Hearing
  After consulting with the parties, the arbitrator shall determine the date, time and place of the hearing. The
 arbitrator and the parties shall attempt to schedule consecutive hearing days if more than one day is
 necessary. If a party has failed to answer a claim and the arbitrator reasonably believes that the party will
 not participate in the hearing, the arbitrator may set the hearing without consulting with that party. The non-
 participating party shall be served with a Notice of Hearing at least thirty (30) calendar days prior to the
 scheduled date.

 27. Stenographic Record
  Any party desiring a stenographic record shall make arrangements directly with a stenographer and shall
 notify the other parties of these arrangements at least five (5) business days in advance of the hearing. The
 requesting party or parties shall pay the cost of the record. If the transcript is agreed by the parties, or
 determined by the arbitrator to be the official record of the proceeding, it must be provided to the arbitrator
 and made available to the other parties for inspection, at a date, time, and place determined by the
 arbitrator.

 28. Interpreter
  If a party desires or requires the services of an interpreter for any hearing or other part of the process, that
 party must make arrangements directly with the interpreter and shall pay for the costs of the interpreter’s
 service.

 29. Postponement of Arbitration Hearing
  The arbitrator may postpone any hearing upon agreement of the parties, upon request of a party for good
 cause shown, or upon the arbitrator’s own initiative.

 30. Arbitration in the Absence of a Party or Representative
  Unless the law provides to the contrary, if a party fails or refuses to appear or participate in the arbitration,
 or in any portion of the arbitration, after having been given notice and opportunity to participate by: (a) failing
 to participate in arbitrator selection, or (b) failing to pay arbitration costs or fees, or (c) failing to respond to

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 the arbitration demand, or (d) failing to appear at hearings, the arbitration may proceed and the arbitrator
 may render a final Award on the basis of the evidence presented by the participating party. An award
 rendered under such circumstances is valid and enforceable as if all parties had participated fully.

 31. Pre-Hearing Submissions
  Subject to any schedule adopted at the Preliminary Hearing, the parties shall exchange a list of the
 witnesses they intend to call, including any experts and a list all exhibits intended to be used at the Hearing
 and exchange copies of such exhibits to the extent that any such exhibit has not been previously
 exchanged. The parties should pre-mark exhibits and shall attempt themselves to resolve any disputes
 regarding the admissibility of exhibits prior to the hearing. All documents should also be provided to ADR
 Services for transmission to the arbitrator, whether or not the parties have stipulated to the admissibility of
 all such documents.

  The arbitrator may require that each party simultaneously submit an arbitration brief, including summaries
 of the facts and evidence a party intends to present, discussion of the applicable law and the basis for the
 requested Award or denial of relief sought. The briefs, which may be in the form of a letter, shall be filed
 with ADR Services and served upon the other Parties, at least five (5) calendar days before the hearing
 date unless agreed otherwise at the preliminary hearing.

 32. Securing Witnesses and Documents for the Arbitration Hearing
  The Arbitrator may issue subpoenas for the attendance of witnesses or the production of documents
 pursuant to Code of Civil Procedure Section 1282.6. In the event a party or a subpoenaed person objects
 to the production of a witness or other evidence, that party or person may file an objection with the arbitrator,
 who will promptly rule on the objection, weighing both the burden on the producing party and the need of
 the proponent for the witness or other evidence.

 33. The Arbitration Hearing
         a. The arbitrator shall conduct the hearing in accordance with these rules. The arbitrator may vary
 these procedures if it is determined reasonable and appropriate to do so.

          b. The arbitrator shall determine the order of proof. Normally, the claimant shall present evidence
 to support his/her/its claim. The respondent shall then present evidence to support his/her/its defense.
 Witnesses for each party shall also submit to questions from the adverse party. The arbitrator has the
 discretion to vary this procedure, provided that the parties are treated with equality and that each party has
 the right to be heard and is given a fair opportunity to present his/her/its case.

          c. The arbitrator shall, at his or her discretion, exercise all powers relating to the conduct of the
 arbitration hearing which shall be conducted in a manner that will promote the efficient and expeditious
 resolution of the dispute. Such powers include, but are not limited to, determinations regarding the means
 or process by which the hearing is to be held, the order of proof, bifurcation of the proceedings, directing
 the parties to focus their presentations on issues the decision of which could dispose of all or part of the
 case, and the calling and examination of witnesses.

         d. Strict conformity to the rules of evidence is not required, except that the arbitrator shall apply
 applicable law relating to privileges and work product. The arbitrator shall determine the admissibility,
 relevance, and materiality of the evidence offered and may exclude evidence deemed by the arbitrator to
 be cumulative or irrelevant. With the agreement of the parties or by order of the arbitrator, the presentation


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 of evidence may proceed by means other than an in-person appearance including, but not limited to, video
 conferencing, internet communication and telephonic conferences.

          e. The arbitrator may receive and consider the evidence of witnesses by declaration or affidavit,
 but shall give it only such weight as the arbitrator deems it is entitled to after consideration of any objection
 made to its admission.

         f. The parties will not offer as evidence, and the arbitrator shall neither admit into the record nor
 consider, prior settlement offers by the parties or statements or recommendations made by a mediator or
 other person in connection with efforts to resolve the dispute being arbitrated, except to the extent that
 applicable law permits the admission of such evidence.

         g. The parties may agree to have all or a portion of the hearings conducted telephonically or may
 agree to waive oral hearings in their entirety.

          h. An arbitrator finding it necessary to make an inspection or investigation in connection with the
 arbitration shall direct ADR Services to so advise the parties. The arbitrator shall set the date and time and
 ADR Services shall notify the parties. Any party who so desires may be present at such an inspection or
 investigation. In the event that one or all parties are not present at the inspection or investigation, the
 arbitrator shall make an oral or written report to the parties and afford them an opportunity to comment.

         i. The arbitrator may proceed with the hearing in the absence of a party who is bound to arbitrate,
 and who, after receiving a Notice of the Hearing, fails to attend. The arbitrator may not render an Award
 solely on the basis of the default or absence of the party, but shall require any party seeking relief to submit
 such evidence as the arbitrator may require for the rendering of an Award.

          j. The arbitrator shall declare the hearing closed upon the determination that all relevant material
 evidence has been presented. The closing of the hearing may be delayed until such time as posthearing
 briefs are submitted or closing arguments presented.

          k. At any time before the Award is rendered, the arbitrator may re-open the hearing upon his or her
 own initiative or upon the application of a party for good cause. The time limits for rendering the Award will
 be extended accordingly.

        l. The parties may agree to waive the oral hearing and submit the dispute to the arbitrator for an
 Award based on written submissions and other evidence as the parties may agree.

 34. The Award
         a. The Award shall be made within a reasonable time by the arbitrator, or within the time agreed to
 by the parties, or specified by law. The arbitrator may choose to keep the hearings open to accept post
 hearing briefs, issue interim Awards, or for any other reason.

         b. Where a panel of arbitrators has heard the dispute, the decision and Award of a majority of the
 panel shall constitute the arbitration Award and shall be binding on the parties.

         c. The Arbitrator is required to render a written, reasoned Award enumerating the disposition of
 each claim and the relief, if any, as to each claim. The Award must be signed by the Arbitrator and served
 on the parties. Service should be made by certified mail.

          d. The arbitrator may grant any remedy or relief that the arbitrator deems just and equitable and
 within the scope of the agreement of the parties, including, but not limited to, specific performance of a


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 contract or in addition to a final Award, the arbitrator may make other decisions, including interim,
 interlocutory, or partial rulings, orders, and Awards. In any interim, interlocutory, or partial Award, the
 arbitrator may assess and apportion the fees, expenses, and compensation related to such Award as the
 arbitrator determines is appropriate.

          e. Within ten (10) calendar days after service of a signed copy of the Award, any party may serve
 upon the other parties and on ADR Services a request that the arbitrator correct any computational,
 typographical or other error in an Award. The Arbitrator may also initiate the process to correct errors in the
 Award. A party opposing such correction shall have ten (10) calendar days in which to file any objection.
 The arbitrator is not empowered to reconsider the merits of any claim already decided. The corrected Award
 shall be served upon the parties in the same manner as the Award. The Award is considered final, for
 purposes of a judicial proceeding to enforce, modify or vacate the Award, twenty (20) calendar days after
 service is deemed effective if no request for a correction is made, or as of the effective date of service of a
 corrected Award.

          f. If the parties settle their dispute during the course of the arbitration and if the parties so request,
 the arbitrator may set forth the terms of the settlement in a “Consent Award.”

           g. ADR Services shall, upon the written request of a party, furnish to the party, at the party’s
 expense, certified copies of an Award in ADR Services’ possession that may be required in judicial
 proceedings relating to the arbitration. This includes seeking to enforce an arbitration award in a foreign
 tribunal.

 35. Confidentiality and Privacy
 The case manager and the arbitrator shall maintain the confidential nature of the arbitration proceeding
 and the Award unless otherwise required by law or judicial decision. The arbitrator may issue orders to
 protect the confidentiality of proprietary information, trade secrets or other sensitive information. The
 arbitrator has the sole discretion to prevent certain non-parties to the arbitration from attending all or part
 of the hearings.

 36. Waiver of Objections
  Any party who proceeds with the arbitration after knowledge that any provision or requirement of these
 rules has not been complied with and who fails to state an objection in writing shall be deemed to have
 waived the right to object. If any party becomes aware of information that could be the basis of a challenge
 for cause to the continued service of the arbitrator, such challenge must be made promptly, in writing, to
 ADR Services. Failure to do so shall constitute a waiver of any objection to continued service by the
 arbitrator.

 37. Exclusion of Liability
  No judicial proceeding by a party relating to the subject matter of the arbitration shall be deemed a waiver
 of the party’s right to arbitrate. Parties to an arbitration under these rules shall be deemed to have consented
 to that judgment upon the arbitration Award that may be entered in any federal or state court having
 jurisdiction thereof. Neither ADR Services nor any arbitrator shall be liable to any party for any act or
 omission in connection with any arbitration conducted under these rules.

 The parties may not call the arbitrator, the case manager or any other ADR Services employee or agent
 as a witness or as an expert in any pending or subsequent litigation or other proceeding involving the parties
 and relating to the dispute that is the subject of the arbitration. The arbitrator, case manager and other ADR

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 Services employees and agents are also incompetent to testify as witnesses or experts in any such
 proceeding. The parties shall defend and/or pay the cost (including any attorneys’ fees) of defending the
 arbitrator, case manager and/or ADR Services from any subpoenas from outside parties arising from the
 arbitration.

 38. Sanctions
 The arbitrator may order appropriate sanctions for failure of a party to comply with his/her/its obligations
 under any of these rules. These sanctions may include, but are not limited to, assessment of costs,
 exclusion of certain evidence, or in extreme cases ruling adversely on an issue submitted to arbitration
 against the party who has failed to comply.

 39. Filing Fees
  ADR Services has a nonrefundable initial filing fee. The filing fee is due upon filing of the arbitration claim
 in accordance with ADR Services’ Fee Schedules.

 40. Expenses
 The expenses of witnesses for either side shall be paid by the party producing such witnesses. All other
 expenses of the arbitration, including required travel and other expenses of the arbitrator, and any witness
 and the cost of any proof produced at the direct request of the arbitrator, shall be borne equally by the
 parties, unless they agree otherwise or unless the arbitrator in the Award assesses such expenses or any
 part thereof against any specified party or parties.

 41. Neutral Arbitrator’s Compensation
  Arbitrators are compensated for all time spent working on the arbitration including, but not limited to,
 preparation and study, conducting the hearing, and deliberation and drafting of the Award. Arbitrators shall
 be compensated at a rate consistent with the arbitrator’s stated rate of compensation. Any arrangement for
 the compensation of a neutral arbitrator shall be made through ADR Services and not directly between the
 parties and the arbitrator.

  In the event of a protracted continuing arbitration, during which time the arbitrator has increased his or her
 stated rate of compensation in accordance with standard practice and procedure, the parties shall be given
 thirty (30) calendar days’ notice and shall compensate the arbitrator at the increased rate, unless otherwise
 agreed upon by the arbitrator.

 42. Payment of Fees
  Counsel will be held responsible for payment of all charges associated with the neutral’s services in this
 matter. For purposes of apportioning fees, party entities whose interests are not adverse with respect to
 the issues in dispute may be treated as a single party. Where disputed, the arbitrator shall determine
 whether the interests between entities are adverse for purpose of fees, considering such factors as whether
 the entities are represented by the same attorney and whether the entities are presenting joint or separate
 positions at the arbitration.

  ADR Services requires that counsel deposit the fees and expenses for the arbitration at least sixty (60)
 calendar days in advance of the first evidentiary hearing. If arbitrator compensation has not been paid in
 full in advance, ADR Services may so inform the parties in order that one of them may advance the required
 payment. If such payments are not made, the arbitrator may order the suspension or termination of the


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 proceedings. If a party has failed to deposit its pro-rata or agreed-upon share of the fees and expenses,
 that party will be precluded from offering evidence in support of any affirmative relief at the hearing.

 Although ADR Services will make an estimate of the time necessary to be billed in the first statement,
 additional time may be billed as used. Payment accounts of the parties must be kept current, and ADR
 Services reserves the right to hold the Award until all fees due and owing have been paid.

  The arbitrator may in the Award assess such fees and expenses or any part thereof against any party. In
 the event that one party has not appeared and the other party has paid the full amount of the fees, upon
 request the arbitrator shall award the defaulting party’s share of the fee obligation against it and in favor of
 the party that has paid. In addition, the arbitrator may award against any party any costs or fees that the
 party owes with respect to the arbitration.




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                        EXHIBIT B




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 As an Administrator, ADR Services, Inc.’s role is to manage the administrative aspects of arbitrations and
 other dispute resolution matters, including facilitating the appointment of an Arbitrator or other dispute
 resolution Neutral, scheduling hearings, and handling the invoicing and payment of fees. ADR Services,
 Inc. does not decide the merits of a case or make substantive rulings on any of the issues presented.
 Because the Administrator’s role is solely organizational and administrative, ADR Services, Inc. has no
 power or jurisdiction to provide legal advice, reconsider, overrule, change, or dictate any Neutral’s
 decisions or rulings.


 1. Applicability of these Rules
          A) Agreement of the Parties. The parties shall be deemed to have made these rules a part of their
 arbitration agreement whenever their arbitration contract provides for arbitration with a Neutral on ADR
 Services, Inc.’s panel and/or administration of the arbitration by ADR Services, Inc. (hereafter “ADR
 Services”), or whenever the parties have otherwise agreed to the applicability of these rules. Any dispute
 between the parties regarding the applicability or interpretation of these Rules shall be reserved for and
 resolved by binding decision of the arbitrator.

           B) Effective Version. The Rules, and any amendment thereof, which shall apply to the arbitration
 will be those in effect at the time the demand for arbitration, submission agreement or court order is received
 by ADR Services.

          C) The governing law shall default to the California Arbitration Act and Code of Civil Procedure
 where: (1) the parties’ arbitration agreement is silent as to the designated arbitration provider and/or
 applicable rules, (2) the parties have not otherwise mutually agreed to the applicable rules, and/or (3) these
 rules are silent as to any process or procedure.

 2. Procedural Modifications
 The arbitral authority of ADR Services is as set forth in the agreement of the parties and in these rules, and
 may be carried out through ADR Services’ representatives as it may direct. The parties may agree on any
 procedures not specified in these rules that are consistent with the applicable law and ADR Services
 policies. The parties shall promptly notify the ADR Services Case Manager of any such party-agreed
 procedures and shall confirm such procedures in writing. The party-agreed procedures shall be enforceable
 as if contained in these rules.

  3. Amendment of Rules
  ADR Services may amend these rules without notice. If the parties have agreed to use these rules by
 contract or stipulation, the rules in effect on the date of the commencement (see Rule 5 below) of an
 arbitration shall apply to that arbitration, unless the parties have specified another earlier version of the
 rules. The current and archived versions of the rules are available on ADR Services’ website at
 www.adrservices.com/arbitration-rules.




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 4. Conflict with Law and Severability
 If any of these rules, or a modification of these rules as agreed upon by the parties, is determined by the
 arbitrator to be in conflict with applicable law, the provision of law will govern, and no other rule will be
 affected.

 5. Commencing an Arbitration
 There are three ways to commence an arbitration with ADR Services: By Demand; By Stipulation; and By
 Court Order.

         A) By Demand:
          An arbitration may be commenced by submitting the “Demand for Arbitration” form. A demand
 occurs when a party to a contract with an arbitration clause that names ADR Services or these rules serves
 a written Demand for Arbitration concurrently on ADR Services and the opposing party(ies). This form is
 available on ADR Services’ website at www.adrservices.com/services/forms.

                  1. The initiating party (the “claimant”) shall, within the time period, if any, specified in the
 contract(s), give to the other party (the “respondent”) written notice of its intention to arbitrate (the
 “demand”), which demand shall contain a statement setting forth the nature of the dispute, the names and
 addresses of all other parties, the amount involved, if any, the claims and remedies sought, and the hearing
 locale requested. Where the respondent is already represented by counsel, notice of the demand provided
 to such counsel shall be deemed notice to the respondent.

         There are several methods for submission of the demand to ADR Services, including mailing a
 hard copy of the demand to any office of ADR Services, submitting the demand electronically through ADR
 Services, Inc.’s website (https://www.adrservices.com/services-2/demand-for-arbitration/), submitting the
 demand by email to demands@adrservices.com, and uploading the demand to ADR Services, Inc.’s Case
 Management System (“AMS”) at https://ams.adrservices.com/inquiries/create/demand/. The demand shall
 be submitted together with a copy of the applicable arbitration provision(s) of the contract, a copy of any
 complaint previously filed with the court, and a proof of service of the demand on the respondent(s) or
 respondent(s)’ counsel.

                  2. ADR Services will confirm receipt of the demand by issuing a Commencement Letter to
 the parties outlining the procedure for continuing with initiation of the arbitration. The date of
 commencement of the arbitration is the date of the Commencement Letter for the procedures set forth in
 these rules only. It is not intended to supersede any legal requirements such as the statute of limitations,
 any contractual limitations period or claims notice requirements.

                  3. Within fifteen (15) calendar days after service of the Commencement Letter, a
 respondent may submit to ADR Services and serve on all other parties an answering statement and, if
 applicable, a statement of any affirmative defenses and/or counterclaims. The respondent shall, at the same
 time as any such filing, send a copy of the answering statement, a statement of affirmative defenses or a
 counterclaim to the claimant. If a counterclaim is asserted, it shall contain a statement setting forth the
 nature of the counterclaim, the amount involved, if any, and the remedies sought. Within fifteen (15)
 calendar days of service of a counterclaim, a claimant may submit to ADR Services and serve on other
 parties a response to such counterclaim. If no answering statement is filed within the stated time,
 respondent will be deemed to deny the claim or counterclaim and consent to arbitration. ADR Services
 reserves the right to extend the deadline for the filing of an answering statement or a counterclaim upon

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 written request. Failure to file an answering statement shall not operate to delay the arbitration, which shall
 proceed after fifteen (15) calendar days (or any granted extension) regardless of whether an answering
 statement has been submitted.

         B) By Stipulation:
         An arbitration may be jointly commenced via submission (stipulation) in the following manner:

                   1. The submission to ADR Services of a post-dispute arbitration agreement fully executed
 by all parties that specifies ADR Services administration or use of any ADR Services rules; or

                 2. The oral agreement of all parties to participate in an arbitration administered by ADR
 Services or conducted pursuant to any ADR Services rules, confirmed in writing by all parties; or

                  3. By filing at any office of ADR Services a copy of a written submission to arbitrate under
 these rules, signed by all parties. It shall contain a statement of the nature of the dispute, the names and
 addresses of all parties, any claims and counterclaims, the amount involved, if any, the remedy sought, and
 the hearing locale requested. Unless the parties state otherwise in the submission, all claims and
 counterclaims will be deemed to be denied by the other party.

         C) By Court Order:
           An arbitration may also be commenced via submission of a Court Order compelling arbitration. The
 Court Order shall be submitted to ADR Services together with a copy of the parties’ arbitration agreement
 as well as any Complaint, Answer, Cross-Complaint, or other pleading filed with the Court, which shall be
 presumed to be the operative pleadings for the arbitration unless otherwise specified by the parties or set
 forth in the Court Order.

         D) Procedure Following Submission Via Stipulation or Court Order:
         When arbitration has been commenced by stipulation or court order, ADR Services will send:

                (1) a Commencement Letter if no arbitrator has been agreed upon or appointed and the
         procedures set forth in ¶5(a)(3) above will apply; or

                 (2) an Initiation of Arbitration Letter/Packet setting forth the next steps to move forward with
         administration of the matter where an arbitrator has been pre-selected. Any pleadings (Complaint,
         Statement of Claims, Answer, Cross-Complaint, or Counterclaims) not previously filed with the
         Court or submitted to ADR Services shall be provided within a reasonable time or as determined
         by the Arbitrator during the initial arbitration management conference.

 6. Notice of Claims, Counterclaims and Affirmative Defenses
  Each party shall provide reasonable and timely notice to the arbitrator and other parties of all claims,
 remedies/relief sought, counterclaims and affirmative defenses that will be asserted in the matter. Notice
 may be provided: (a) in the Demand for Arbitration, answering statement and/or counterclaim; (b) by
 attaching a copy of any previously filed Complaint, Answer or Cross-Complaint; or (c) by attaching a
 separate Statement of Claims or Counterclaims. The notice shall include a brief description of the factual
 basis for each claim, affirmative defense, and/or counterclaim. No claim, remedy, counterclaim, or
 affirmative defense will be considered by the arbitrator in the absence of such prior notice, which is to be
 provided no later than ninety (90) calendar days before the initial date for arbitration, unless the arbitrator


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 determines that no unfair prejudice has occurred or all parties agree that such consideration is appropriate
 notwithstanding the lack of prior notice.

 7. Changes of Claim
  After filing a claim and where no arbitrator has been appointed, if either party desires to make any new or
 different claim or counterclaim, it shall be made in writing and filed with ADR Services. The party asserting
 such a new or different claim or counterclaim shall provide a copy to the other party, who shall have fifteen
 (15) calendar days from the date of such transmission within which to file an answering statement with ADR
 Services. If no answering statement is filed, the respondent will be deemed to have denied the claim.

 Once an arbitrator has been appointed, no new or different claim may be submitted absent the arbitrator’s
 consent.

 8. Jurisdiction
  Unless the issue of arbitrability has been previously determined by the court, the arbitrator shall have the
 power to rule on his or her own jurisdiction, including any objections with respect to the existence, scope,
 or validity of the arbitration agreement. In addition, the arbitrator shall have the power to determine the
 existence or validity of a contract of which an arbitration clause forms a part. Such an arbitration clause
 shall be treated as an agreement independent of the other terms of the contract. A decision by the arbitrator
 that the balance of the contract is void shall not for that reason alone render invalid the arbitration clause.
 A party must object to the jurisdiction of the arbitrator or to the arbitrability of a claim or counterclaim no
 later than the filing of the answering statement to the claim or counterclaim that gives rise to the objection.
 The arbitrator may rule on such objections as a preliminary matter or as part of the final Award.

 9. Administrative Conference (ADR Services)
  ADR Services may, at its discretion or at the request of the parties, contact the parties by telephone or
 email to discuss procedural matters such as the pleadings or notice of claim sequence, arbitrator selection,
 locale and the needs and expectations of the parties in conjunction with the arbitration process. This
 includes, but is not limited to, procedural matters related to mass arbitration filings such as batching and
 the potential appointment of a Threshold Arbitrator. ADR Services or the parties may request additional
 telephonic conferences as necessary.

 10. Mass Arbitrations
         A) Definition of Mass Arbitration

          The designation of “mass arbitration” shall apply when twenty (20)* or more arbitration claims are
 filed which involve the same or similar parties; are based on the same or similar claims which arise from
 the same or substantially identical transactions, incidents, or events requiring the determination of the same
 or substantially identical questions of law or fact; and involve the same or coordinated counsel for the
 parties. If a dispute arises regarding whether the cases satisfy this criteria, ADR Services reserves the right
 to make a final determination. (*Or as otherwise defined in the parties’ arbitration agreement.)




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         B) Request for Threshold Arbitrator

          To promote the timely resolution of threshold issues and/or disputes between the parties, ADR
 Services will appoint a Threshold Arbitrator upon receipt of a written request of either party following the
 administrative conference (Rule 9) and/or prior to the selection and appointment of the “merits” arbitrator(s).
 Such threshold issues and disputes include, but are not limited to: (i) whether the arbitration demands
 qualify for designation as “mass arbitrations” for which ADR Services has not made a determination; (ii)
 disputes regarding the payment of filing or administrative fees; (iii) compliance with any mandatory informal
 resolution procedures or other applicable preconditions; (iv) whether the dispute qualifies as a “threshold
 issue” for appropriate determination by the Threshold Arbitrator; (v) which demands qualify for inclusion in
 the “mass arbitration” designation, including later filed demands; and (vi) any other non-merits
 administrative issue agreed upon by parties in writing to be presented to the Threshold Arbitrator. (The
 parties may also, after appointment of the merits arbitrator(s), mutually agree to have the Threshold
 Arbitrator or other Neutral hear and resolve any discovery disputes common to all claims.)

          The Threshold Arbitrator’s decision(s) shall be final and binding upon the parties and the merits
 arbitrator(s) unless otherwise designated by the Threshold Arbitrator.

         Once a request is made to ADR Services for appointment of a Threshold Arbitrator, ADR Services
 may suspend further processing of the mass arbitration demands, including the further payment of
 administrative costs deemed due with respect to those demands for which a dispute has been raised, until
 the issues have been resolved and/or the Threshold Arbitrator has issued a final determination.

         The requesting party shall be responsible for the administrative fees and Threshold Arbitrator fees
 associated with these initial proceedings. If requests are received from both sides, the fees shall be shared
 by the parties 50/50.

         C) Selection and Appointment of Threshold Arbitrator

          Upon receipt of a party’s request for appointment of a Threshold Arbitrator, ADR Services shall
 send simultaneously to each party a list of five (5) candidates from the panel of neutrals. The parties are
 encouraged to agree to a Threshold Arbitrator from the list and to advise ADR Services of their agreement.
 If the parties have agreed upon, or their agreement provides, specific criteria for the list (e.g., retired judges
 only, or a combination of retired judges and attorneys, from a particular panel), the requesting party shall
 include that information in the written request.

           If the parties are unable to agree upon an arbitrator, each side shall have five (5) business days
 from the transmittal date of the list of candidates in which to strike up to two (2) names objected to, number
 the remaining names in order of preference, and return the list to ADR Services. If a party does not return
 the list within the time specified, all persons named therein shall be deemed acceptable and ADR Services
 shall appoint the Threshold Arbitrator identified as most acceptable by the party who returned the list. If the
 parties fail to agree on any of the persons named, ADR Services shall appoint the Threshold Arbitrator that
 was most acceptable to the parties as indicated by their preferences. If the ranking of the parties’
 preferences results in a “tie” between two or more selected arbitrators, ADR Services shall make the
 appointment from amongst those preferred candidates. If the most preferred candidate is unable to act, or
 if for any other reason the appointment cannot be made, the next most acceptable candidate as indicated
 by the parties’ preferences shall be selected without the provision or submission of additional lists.



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          The selected Threshold Arbitrator shall disclose any ground likely to affect his or her impartiality
 based on the facts disclosed in the demands. (Please note that ADR Services must be in receipt of the
 mandatory Mass Arbitration Excel Spreadsheet (Claimants) and Arbitration Registration Form (Claimants
 and Respondent(s)) in order to prepare and issue disclosures.) Any challenge to the appointed Threshold
 Arbitrator must be received by ADR Services within five (5) business day of the notice of the appointment
 and disclosures.

         ADR Services may extend the time periods provided in this section for selection and appointment
 of a Threshold Arbitrator upon written request from the parties.

         D) Preliminary Hearing with Threshold Arbitrator

            Once appointed, the Threshold Arbitrator will schedule as soon as practicable a preliminary hearing
 or initial conference with the parties’ representatives to clarify the issues to be addressed, set any briefing
 and hearing schedule, and discuss any other preliminary matters unrelated to the merits of the claims. The
 preliminary hearing may be conducted by telephone or through a remote appearance platform (such as
 Zoom) at the Threshold Arbitrator’s discretion.

         E) Appointment of “Merits” Arbitrator(s) and Proceeding with Arbitrations

         Once all issues submitted to the Threshold Arbitrator have been resolved and/or decided, the
 process for selection of the arbitrators to hear the matters on the merits shall proceed as set forth below in
 Rule 12. ADR Services or the parties may request an additional Administrative Conference to discuss a
 mutually optimal procedure for the efficient appointment of the arbitrators to hear and determine the matters.

 11. Fixing of Locale
  The parties should mutually agree on the locale where the arbitration is to be held. If any party requests or
 has demanded that the hearing be held in a specific locale, the other party may object at any time by
 contacting ADR Services and providing notice to the other party. If no objection is received within fifteen
 (15) calendar days after notice that a demand or request has been submitted to ADR Services, the locale
 shall be the one requested. The 15-day period is not tolled pending issuance a Commencement Letter from
 ADR Services. If a party promptly objects to the locale requested by the other party and no arbitrator has
 been appointed, ADR Services shall have the power to determine the locale, and its decision shall be final
 and binding.

 12. Arbitrator Selection and Appointment
  Arbitrations shall be conducted by one neutral arbitrator unless all Parties agree otherwise. In cases
 involving more than one arbitrator (i.e., a panel arbitration), the Parties shall each select their own neutral
 or non-neutral party arbitrator and may also agree on the third neutral arbitrator to serve as the chairperson
 for the panel. In the absence of an agreement by the Parties, their respective party arbitrators shall select
 and designate the neutral arbitrator to act as chairperson for the arbitration panel. If the parties and the
 arbitrators agree, the chairperson may, acting alone, resolve discovery disputes and rule on other
 procedural matters.

 If the agreement of the parties names an arbitrator or specifies a method of appointing an arbitrator, that
 designation or method shall be followed. The notice of appointment, with the name and address of the
 arbitrator, shall be filed with ADR Services by the appointing party. If the agreement specifies a time-period


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 within which an arbitrator shall be appointed and any party fails to make the appointment within that period,
 the appointment shall be made by ADR Services pursuant to the strike and rank process set forth below. If
 no time-period is specified in the agreement, ADR Services shall notify the parties to make the appointment.
 If within fifteen (15) calendar days after such notice has been sent, an arbitrator has not been appointed by
 a party, ADR Services shall make the appointment in accordance with the strike and rank process below.

  Unless the Arbitrator has been previously selected by agreement of the parties, ADR Services may attempt
 to facilitate agreement among the parties regarding selection of the arbitrator. If the parties have not
 appointed an arbitrator and have not provided any other method of appointment, the arbitrator shall be
 appointed in the following manner:

          A) Following the filing of the submission to arbitration or the answering statement or the expiration
 of the time within which the answering statement is to be filed, ADR Services shall send simultaneously to
 each party to the dispute an identical list of names of persons chosen from the panel. The list shall contain
 a minimum of seven (7) names. The parties are encouraged to agree to an arbitrator from the submitted
 list and to advise ADR Services of their agreement. If the parties have agreed upon, or their agreement
 provides, specific criteria for the list (e.g., retired judges only, or a combination of retired judges and
 attorneys, from a particular panel), the parties shall notify ADR Services either in the demand for arbitration
 or within ten (10) calendar days after ADR Services sends the Commencement Letter.

           B) If the parties are unable to agree upon an arbitrator, each party to the dispute shall have fifteen
 (15) business days from the transmittal date of the list of arbitrators in which to strike up to three (3) names
 objected to, number the remaining names in order of preference, and return the list to ADR Services. If a
 party does not return the list within the time specified, all persons named therein shall be deemed
 acceptable and ADR Services shall appoint the arbitrator identified as most acceptable by the party who
 returned the list. If the parties fail to agree on any of the persons named, ADR Services shall appoint the
 arbitrator that was most acceptable to the parties as indicated by their preferences. If the ranking of the
 parties’ preferences results in a “tie” between two or more selected arbitrators, ADR Services shall make
 the appointment from amongst those preferred arbitrators. If the most preferred arbitrator(s) are unable to
 act, or if for any other reason the appointment cannot be made, the next most acceptable arbitrator(s) as
 indicated by the parties’ preferences shall be selected without the provision or submission of additional lists.

          C) Entities whose interests are not adverse with respect to the issues in dispute shall be treated as
 a single party for purposes of the arbitrator selection process. ADR Services shall determine whether the
 interests between entities are adverse for purposes of arbitrator selection, considering such factors as
 whether the entities are represented by the same attorney and whether the entities are presenting joint or
 separate positions at the arbitration.

          D) Any disclosures required by law to be made by a selected arbitrator shall be served by electronic
 mail to the counsel of record for each represented party within ten (10) calendar days from the notice of the
 proposed nomination or appointment. The parties have fifteen (15) calendar days after the service of the
 proposed arbitrator’s disclosure statement to object to the appointment of the arbitrator based upon the
 disclosures made. If no written objection is received by ADR Services within that time frame, it is considered
 waived.

         E) At any time before the conclusion of the arbitration proceeding, a party may challenge the
 continued service of an arbitrator on any of the “judicial-type” grounds listed in Code of Civil Procedure
 Section 170.1. The challenge must be based upon information that was not available to the parties at the


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 time the arbitrator was selected. A challenge for cause must be in writing and exchanged with opposing
 parties, who may respond within seven (7) days of service of the challenge. The challenge will be ruled
 upon by the Arbitrator, which shall be conclusive. This provision does not apply to information contained in
 and/or acquired through the arbitrator’s disclosures in the matter.

 13. Notice of Appointment and Disclosures
 Notice of the appointment of the neutral arbitrator, whether the appointment has been made by contract,
 mutually by the parties or by ADR Services, shall be sent to the arbitrator by ADR Services prior to the
 opening of the first hearing.

 When engaging the services of ADR Services, the Parties are asked to provide information regarding the
 dispute at issue, as well as a list of all persons or entities involved and their counsel or representatives in
 the mandatory Arbitration Registration Form. This information is relied upon by ADR Services in preparing
 and issuing the necessary disclosures. ADR Services does not investigate, research, or question the validity
 or accuracy of this information.

  In light of the arbitrator’s ongoing obligation to provide disclosure information throughout the matter, it is
 the responsibility of Counsel to ensure that ADR Services is provided on an ongoing basis with the most
 complete, accurate, and current information relating to their matter. This includes identifying any and all
 parties, entities and attorneys who will be involved throughout the process, and providing separate written
 notice to ADR Services of any change in parties or counsel.

 Based upon the information provided by counsel/parties and pursuant to the relevant code sections in force
 at the time of the appointment of the arbitrator, including the Ethics Standards for Neutral Arbitrators in
 Contractual Arbitration as adopted by the Judicial Council pursuant to Section 1281.85 of the Code of Civil
 Procedure, any person appointed as a neutral arbitrator shall disclose to ADR Services facts, information
 or circumstances that may constitute a conflict of interest or cause a person aware of the facts to reasonably
 entertain a doubt that the arbitrator would be able to be impartial. Upon receipt of such information from the
 arbitrator or another source, ADR Services shall communicate the information to the parties in accordance
 with the applicable standards.

 14. Service
 Any notices or documents necessary for the initiation or continuation of the arbitration under these rules is
 accomplished by providing one copy of the document to each party and one copy to the case manager on
 behalf of the arbitrator. Service may be made by hand-delivery, overnight delivery service or U.S. mail.
 Service by facsimile or electronic mail will be deemed sufficient if agreed upon by the parties or their counsel
 and notice of the agreement is provided to ADR Services and/or the arbitrator.

 Service by hand-delivery, overnight delivery service or U.S. mail shall be considered effective upon the
 date of deposit of the document. When the method of service is by the U.S. Mail only, three (3) calendar
 days shall be added to the prescribed period for service within California and five (5) calendar days for mail
 outside of California. Service by facsimile or electronic mail is considered effective upon transmission.

 Service will be deemed sufficient if the documents are sent to the last known mailing address or email
 address given on any document presented by a self-represented party or a party’s attorney. It is the party’s
 or attorney's duty to submit and serve a notice of change of address or email address to ADR Services and



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 all other parties or counsel while the matter is pending. ADR Services relies upon the contact information
 provided by the parties and is not responsible for a challenge to the Award based on lack of proper notice.

 ADR Services shall serve all arbitrator disclosures to the counsel of record for represented parties by
 electronic mail.

 The Award shall be served by certified mail.

  Unless otherwise instructed by ADR Services or by the arbitrator, any documents submitted by any party
 to ADR Services or to the arbitrator shall simultaneously be provided to the other party or parties to the
 arbitration.

 15. Service by Publication
 Where a thorough, systematic search and inquiry for the whereabouts of the respondent or other party has
 been conducted and unsuccessful attempts to serve by another approved method have failed, the serving
 party may seek a court order allowing the demand for arbitration and other related documents to be served
 by publication in accordance with Code of Civil Procedure Section 415.50. The court order along with proof
 of publication shall be submitted to ADR Services.

 16. Electronic Submission and Transmission
 ADR Services sends and receives documents via electronic mail. All documents sent by electronic mail
 will be deemed submitted to ADR Services if transmitted no later than 11:59 p.m., Pacific Standard Time.
 Proof of transmission is sufficient to raise a rebuttable presumption that service was accomplished in the
 ordinary course.

  When a document to be submitted requires a signature of an attorney or a self-represented party, not
 under penalty of perjury, the document shall be deemed to have been signed by that attorney or self-
 represented party if submitted electronically. The signature block shall set forth the typed name, address
 and telephone number of a signing attorney or self-represented party.

  When a document to be submitted must be signed under penalty of perjury of any person: (1) the party
 submitting the document must obtain the signatures of all parties on a printed form of the document either
 prior to or the same day as the date of submission; (2) the party filing the document must maintain the
 original, signed document and must make it available for inspection and copying; and (3) by electronically
 submitting the document, the submitting party indicates that all necessary persons or parties have signed
 the document and that the submitting party has the document bearing the original signature in his or her
 possession. (See Code of Civil Procedure Section 1010.6.)

  Documents electronically transmitted by the arbitrator to the parties and/or their counsel shall be deemed
 signed by the arbitrator. (Civil Code Section 1633.7(a); California Rules of Court rule 2.257(e).)

 17. Representation
  Where a party to the arbitration is a natural person, he or she may be represented by counsel of that party’s
 choosing or may represent themselves in propria persona. However, ADR Services reserves the right to
 decline to administer an arbitration in the event a party opts to proceed in propria persona. Where a party
 to the arbitration is a legal entity such as a corporation, limited liability company (LLC) or partnership, that
 entity party must be represented by counsel.

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  Each Party shall give prompt written notice to the case manager and the other parties of the name, address,
 telephone number, fax number and email address of its counsel. Where a party is self-represented, he or
 she must provide ADR Services and all other parties with a valid mailing address (other than a post-office
 box) and a valid, regularly monitored email address for the receipt of any and all documents exchanged by
 the parties or sent by ADR Services throughout the duration of the arbitration.

  Any change in representation must be accomplished through either submission of a completed Substitution
 of Attorney form (Judicial Council Form MC-050) or by noticed motion to be relieved as counsel (California
 Rules of Court rule 3.1362). If there is a change in representation, the party shall give prompt written notice
 to the case manager and all other parties, including the name, address, telephone number, fax number and
 email address of the new attorney. The notice shall indicate that written consent of the former attorney, if
 any, as well as the new attorney was obtained for the substitution and shall state the effective date of the
 new representation.

 18. Attendance at Hearings
  The arbitrator and ADR Services shall maintain the privacy of the hearings unless the law provides to the
 contrary. Any party or representative having a direct interest in the arbitration is entitled to attend hearings.
 The arbitrator shall otherwise have the power to require the exclusion of any witness, other than a party or
 other essential person, during the testimony of any other witness. It shall be discretionary with the arbitrator
 to determine the propriety of the attendance of any other person other than a party and his/her/its
 representatives.

 The arbitrator may proceed with any hearing despite the absence of a party so long as that party received
 proper notice as set forth in Rules 14 or 15 above and thereafter fails to respond or attend. However, the
 arbitrator may not grant relief or issue an Award based solely on the default or absence of the party. The
 party seeking relief bears the initial burden of establishing a right to such relief based upon a proper
 evidentiary showing.

 The Notice of Hearing shall specify if it will be conducted in person, through a remote appearance platform
 such as Zoom, or telephonically. Pre-arbitration hearings are typically conducted telephonically or through
 a remote performance platform such as Zoom. Absent mutual agreement of the parties, the Arbitrator shall
 determine, at his or her discretion, the optimal manner by which the arbitration hearing shall proceed.

 19. Withdrawal from Arbitration
  No party may terminate or withdraw from an arbitration after the appointment of the arbitrator except by
 written agreement of all parties to the arbitration. A party that asserts a claim or counterclaim may
 unilaterally withdraw that claim or counterclaim without prejudice by serving written notice on the other
 parties and on the arbitrator. However, the opposing parties may, within fifteen (15) calendar days of service
 of notice of the withdrawal of the claim or counterclaim, request that the Arbitrator order that the withdrawal
 be with prejudice.

 20. Communication with the Arbitrator

         A) Ex Parte Communication: No party and no one acting on behalf of any party shall
 communicate unilaterally (ex parte) concerning the arbitration with a neutral arbitrator or a candidate for
 neutral arbitrator. Any necessary ex parte communication with ADR Services, whether before, during or

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 after the arbitration hearing, shall be conducted through the case manager. If a communication is received
 by a case manager for review by the arbitrator, it must generally (and with limited exception) be copied to
 all counsel or parties before it can be forwarded to the arbitrator.

        If any ex parte communication occurs, the arbitrator will promptly inform the other parties of the
 communication and provide the other parties an opportunity to respond before making any final
 determination concerning the matter discussed. (Ethics Standards, std. 14(b).)

          B) Ex Parte Application for Relief: An ex parte application is used by one party to ask the
 arbitrator for an order, such as an order changing a hearing date or deadline, without the full notice required
 for a noticed motion. It is used when exigent or emergency circumstances arise that require the arbitrator’s
 early intervention to prevent prejudice to the requesting party.

           Counsel for the requesting party must submit the ex parte application to the arbitrator’s case
 management team (not directly to the arbitrator) no later than 10:00 a.m. at least one (1) business day
 before any hearing can be held. Notice of the ex parte application must be provided by the requesting party
 to all sides in the case. Any written opposition may be submitted in advance of the hearing; otherwise, oral
 argument will be considered by the arbitrator absent written opposition. The arbitrator’s case manager will
 provide the arbitrator’s earliest availability and send a notice of the hearing date and time selected.

 21. Preliminary Hearing (Initial Arbitration Management Conference)
  At the request of any party or at the discretion of the arbitrator or ADR Services, the arbitrator may
 schedule as soon as practicable a preliminary hearing or initial arbitration management conference with the
 parties and/or their representatives. The preliminary hearing may be conducted by telephone or through a
 remote appearance platform (such as Zoom) at the arbitrator’s discretion. During the preliminary hearing,
 the parties and the arbitrator should discuss such issues as the future conduct of the case, including
 clarification of the issues, document exchange, a schedule for the hearings, discovery, the form of the
 Award, the length of the arbitration, and any other preliminary matters.

 22. Discovery
          A) Initial Exchange. Mindful of the goal of completing arbitration promptly and economically, the
 parties shall cooperate in good faith to voluntarily, promptly, and informally exchange all nonprivileged
 documents and other reasonably available information relevant to the dispute or claim, including
 electronically stored information (“ESI”). (See Code of Civil Procedure Section 2016.090.) Where privileged
 documents have been withheld, the withholding party shall provide a privilege log with sufficient specificity
 to allow a determination of whether each withheld document is or is not (in) fact privileged. Documents that
 have not been previously exchanged, or witnesses and experts not previously identified, may not, at the
 arbitrator’s discretion, be considered at the hearing, unless agreed by the parties or upon a showing of
 good cause.

 After the appointment of the arbitrator or arbitrators, the parties to the arbitration shall have the right to
 obtain discovery and to use and exercise the same rights, remedies, and procedures, and be subject to
 the same duties, liabilities, and obligations in the arbitration as if the subject matter of the arbitration were
 pending before a superior court of California, other than a limited civil case.
 Depositions for discovery shall not be taken unless leave to do so is first granted by the arbitrator(s) as
 deemed necessary to a full and fair exploration of the issues in dispute and consistent with the expedited

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 nature of arbitration. The parties shall attempt to agree on the time, location, and duration of any
 deposition(s), and if the parties do not agree these issues shall be determined by the arbitrator.
          B) Discovery Subpoenas. The Arbitrator may issue subpoenas for the attendance of witnesses
 and/or the production of documents pursuant to Code of Civil Procedure Section 1282.6. In the event a
 party or a subpoenaed person objects to the subpoena, that party or person may file an objection with the
 arbitrator which will initiate the discovery dispute procedure below.
          C) Discovery Disputes. The parties shall promptly notify the case manager when an unresolved
 dispute exists regarding discovery issues. At the arbitrator’s discretion, the case manager will arrange an
 informal discovery conference (“IDC”) with counsel and/or the parties, either by telephone, remote
 appearance platform, or in person, and the arbitrator shall provide his or her recommendations for resolution
 of the dispute. If the dispute is not resolved by this informal procedure or further meet and confer efforts,
 the matter may proceed by noticed motion and the arbitrator will issue a binding decision.

 23. Pre-Arbitration “Pleading” Motions
  As in court proceedings, the arbitrator(s) may allow the parties to file and serve dispositive pleading
 motions such as demurrers, motions to strike and motions for judgment on the pleadings. In order to be
 considered, the motion must be “dispositive.” A written request for leave to present the motion must first be
 submitted to the Arbitrator by concise letter brief, copied to all sides, demonstrating that the motion is likely
 to succeed and dispose of or narrow the issues in the case. The party opposing the request may submit a
 concise responsive letter brief indicating why the motion should not be considered. The arbitrator may grant
 or deny the request based upon the parties’ letter briefs alone or may schedule a telephonic or remote
 conference, at his or her discretion.

 24. Interim Measures and Motions for Summary Judgment/Adjudication of a Claim
 or Issue
          (A) Interim Measures: The arbitrator may take whatever interim measures he or she deems
 necessary, including injunctive relief and measures for the protection or conservation of property and
 disposition of perishable goods. Such interim measures may take the form of an Interim Award, and the
 arbitrator may require security for the cost of such measures. If any bond, undertaking, or security
 requirement is imposed, the parties must make any necessary arrangements with a third-party surety
 company or other entity to hold and/or maintain the funds. A request for interim measures addressed by a
 party to a judicial authority shall not be deemed incompatible with the agreement to arbitrate or constitute
 a waiver of the right to arbitrate.

          (B) Summary Judgment/Adjudication Motions: A party or representative of a party may make a
 motion for summary judgment or summary adjudication of a particular claim or issue to be decided by the
 arbitrator. The moving party shall, after meeting and conferring with the other party as to a desired hearing
 date, contact the case manager to determine the arbitrator’s availability. If the parties are unable to agree
 to a hearing date, one will be selected by the arbitrator. Unless otherwise specified by the arbitrator, the
 applicable requirements and briefing schedule shall be in accordance with Code of Civil Procedure Section
 437c.




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 25. Emergency Provisional Relief
 Where a party seeks emergency provisional relief, such as a temporary restraining order, but an arbitrator
 or arbitration panel has not yet been appointed, the party shall promptly notify ADR Services and all other
 parties in writing that such relief will be sought.

 Notice may be given by facsimile, electronic mail, or other reliable means. The written notice for an
 emergency order shall include the nature and basis of the relief sought and why the matter is appropriately
 handled on an emergency basis – i.e., a factual showing of irreparable harm, immediate danger, or any
 other statutory basis for granting relief.

  The notice must also be accompanied by a completed sworn declaration that includes one of the following:
 (a) that notice was given, including the date, time, manner, and name of the party informed, the relief sought,
 any response, and whether opposition is expected; (b) that the applicant in good faith attempted to inform
 the opposing party but was unable to do so, specifying the efforts made to inform the opposing party; or (c)
 that, for reasons specified, the applicant should not be required to inform the opposing party.

 ADR Services shall, within two (2) business days of receipt of notice as provided above, appoint a single
 emergency arbitrator to rule on the emergency application. The emergency arbitrator shall immediately
 disclose any ground likely to affect his or her impartiality based on the facts disclosed in the application.
 Any challenge to appointed emergency arbitrator must be made within one (1) business day of ADR
 Services’ notice of the appointment and disclosure.

  The emergency arbitrator shall notify the parties, no later than two (2) business days following the
 appointment, of the schedule and manner in which the emergency application will be considered. The
 proceeding may occur telephonically or in any other manner calculated to provide all parties with a
 reasonable opportunity to be heard. The emergency arbitrator shall have the authority to determine
 jurisdiction (see Rule 8, infra) and shall resolve any disputes regarding the applicability of this rule.

 If the emergency arbitrator is satisfied that the party seeking emergency relief has made a factual showing
 of irreparable harm, immediate danger, or any other statutory basis for granting relief, he or she may enter
 an interim order granting the relief and stating the grounds therefor. As a condition of the relief granted, the
 emergency arbitrator may require the party seeking emergency relief to post a bond or other security.

 The emergency arbitrator shall retain the power to modify or reconsider the interim order until the
 appointment of an arbitrator or arbitration panel for consideration of the entire matter. The emergency
 arbitrator shall apportion the costs associated with the application, which may later be adjusted by the
 arbitrator or arbitration panel in issuing the final award.

  This rule is not intended to supplant or supersede the power of a judicial authority to issue such emergency
 relief. Where a party seeks emergency relief from the court, it shall not be in conflict with these rules or
 otherwise affect the right to arbitrate the dispute.

 26. Mediation
  At any stage of the proceedings, the parties may agree to engage in mediation in order to facilitate
 settlement. Generally, the mediator should not be the arbitrator appointed to decide the case. Should the
 parties agree to mediate the matter with the appointed arbitrator, they may do so following execution of the
 necessary written stipulation available through ADR Services.


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 27. Date, Time, and Place of the Arbitration Hearing
 After consulting with the parties, the arbitrator shall determine the date, time, and place of the arbitration
 hearing. Absent mutual agreement of the parties, the Arbitrator shall determine, at his or her discretion, the
 optimal manner by which the arbitration hearing shall proceed (i.e., telephonically, through a remote
 appearance platform, or in person).The arbitrator and the parties shall attempt to schedule consecutive
 hearing days if more than one day is necessary.

  If a party has failed to appear or participate in the proceedings and the arbitrator reasonably believes that
 the party will not participate in the hearing, the arbitrator may set the hearing without consulting with that
 party. The non-participating party shall be served with a Notice of Hearing at least thirty (30) calendar days
 prior to the scheduled date.

 28. Stenographic Record
  Any party desiring a stenographic record shall make arrangements directly with a stenographer and shall
 notify the other parties of these arrangements at least five (5) business days in advance of the hearing. The
 requesting party or parties shall pay the cost of the record, except as otherwise required by law. If the
 transcript is agreed by the parties, or determined by the arbitrator to be the official record of the proceeding,
 it must be provided to the arbitrator and made available to the other parties for inspection, at a date, time,
 and place determined by the arbitrator.

 When any hearing or other proceeding in the arbitration is conducted via Zoom or other video conference
 platform, all recording is prohibited unless otherwise stipulated to by all parties, counsel, and the Arbitrator.
 (See Penal Code Section 632.) If the parties wish to have a session recorded, they must stipulate to hire
 their own court reporter or other service to record the proceedings. The hiring and payment of the court
 reporter’s fees is the responsibility of the requesting party unless otherwise provided by law.

 29. Interpreter
  If a party desires or requires the services of an interpreter for any hearing or other part of the process, that
 party must make arrangements directly with the interpreter and shall pay for the costs of the interpreter’s
 service.

 30. Postponement of Hearings
  The arbitrator may postpone any hearing upon agreement of the parties, upon request of a party for good
 cause shown, or upon the arbitrator’s own initiative.

 31. Arbitration in the Absence of a Party or Representative
  Unless the law provides to the contrary, if a party fails or refuses to appear or participate in the arbitration,
 or in any portion of the arbitration, after having been given notice and opportunity to participate by: (a) failing
 to participate in arbitrator selection, or (b) failing to pay arbitration costs or fees, or (c) failing to respond to
 the arbitration demand, or (d) failing to appear at hearings, the arbitration may proceed and the arbitrator
 may render a final Award on the basis of the evidence presented by the participating party. The arbitrator
 may not grant relief or issue an Award based solely on the default or absence of the party. The party seeking
 relief bears the initial burden of establishing a right to such relief based upon a proper evidentiary showing.
 An award rendered under such circumstances is valid and enforceable as if all parties had participated fully.


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 32. Pre-Arbitration Hearing Exchange, Witness/Exhibit Lists and Briefs
          A) Exchange Pursuant to Demand. Except as otherwise provided in the parties’ agreement, and
 where the amount in controversy exceeds fifty thousand dollars ($50,000), either party shall within fifteen
 (15) calendar days of receipt of notice of the arbitration hearing date, but no later than seventy (70) calendar
 days before arbitration, have the right to demand in writing that the other party provide a list of witnesses,
 including designation of expert witnesses, it intends to call and a list of documents it intends to introduce at
 the hearing provided that the demanding party provides such lists at the time of its demand. (See Code of
 Civil Procedure Section 1282.2.) A copy of such demand and the demanding party's lists shall be served
 on the arbitrator. The responding party’s lists shall be served on the demanding party and the arbitrator in
 accordance with Rule 14 above fifteen (15) calendar days following the receipt of the demand. Where
 privileged documents have been withheld, the withholding party shall provide a privilege log. The arbitrator
 may modify these obligations at the preliminary conference.

            B) Pre-Hearing Witness and Exhibit Lists. Pursuant to any schedule adopted at the preliminary
 conference, the parties shall exchange a list of the witnesses they intend to call, including any experts, and
 a list all exhibits intended to be used at the Hearing and exchange copies of such exhibits to the extent that
 any such exhibit has not been previously exchanged. The parties should pre-mark exhibits and shall make
 a good faith effort to resolve any disputes regarding the admissibility of exhibits prior to the hearing. All
 documents should also be provided to ADR Services for transmission to the arbitrator, whether or not the
 parties have stipulated to the admissibility of all such documents.

           C) Arbitration Briefs. The arbitrator may require that each party simultaneously submit an arbitration
 brief, including summaries of the facts and evidence a party intends to present, discussion of the applicable
 law and the basis for the requested Award or denial of relief sought. The briefs, which may be in the form
 of a letter, shall be filed with ADR Services and served upon the other Parties, at least five (5) calendar
 days before the hearing date unless agreed or otherwise specified by the arbitrator at the preliminary
 hearing or initial arbitration management conference.

 33. Securing Witnesses and Documents for the Arbitration Hearing
  The Arbitrator may issue subpoenas for the attendance of witnesses or the production of documents at the
 arbitration hearing pursuant to Code of Civil Procedure Section 1282.6. In the event a party or a
 subpoenaed person objects to the production of a witness or other evidence, that party or person may file
 an objection with the arbitrator, who will promptly rule on the objection, weighing both the burden on the
 producing party and the need of the proponent for the witness or other evidence.

 34. The Arbitration Hearing
         a. The arbitrator shall conduct the hearing in accordance with these rules. The arbitrator may vary
 these procedures if it is determined reasonable and appropriate to do so.

          b. The arbitrator shall determine the order of proof. Normally, the claimant shall present evidence
 to support his/her/its claim. The respondent shall then present evidence to support his/her/its defense.
 Witnesses for each party shall also submit to questions from the adverse party. The arbitrator has the
 discretion to vary this procedure, provided that the parties are treated with equality and that each party has
 the right to be heard and is given a fair opportunity to present his/her/its case.


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          c. The arbitrator shall, at his or her discretion, exercise all powers relating to the conduct of the
 arbitration hearing which shall be conducted in a manner that will promote the efficient and expeditious
 resolution of the dispute. Such powers include, but are not limited to, determinations regarding the means
 or process by which the hearing is to be held, the order of proof, bifurcation of the proceedings, directing
 the parties to focus their presentations on issues the decision of which could dispose of all or part of the
 case, and the calling and examination of witnesses.

         d. With the mutual agreement of the parties, or by binding order of the arbitrator, the arbitration
 hearing and presentation of evidence (including the testimony of witnesses) may proceed by an in-person
 appearance, telephonic conference, or through a remote appearance platform such as Zoom, or a hybrid
 of such methods.

         e. Strict conformity to the rules of evidence is not required, except that the arbitrator shall apply
 applicable law relating to privileges and work product. The arbitrator shall determine the admissibility,
 relevance, and materiality of the evidence offered and may exclude evidence deemed by the arbitrator to
 be cumulative or irrelevant.

          f. The arbitrator may receive and consider the evidence of witnesses by declaration or affidavit, but
 shall give it only such weight as the arbitrator deems it is entitled to after consideration of any objection
 made to its admission.

         g. The parties will not offer as evidence, and the arbitrator shall neither admit into the record nor
 consider, prior settlement offers by the parties or statements or recommendations made by a mediator or
 other person in connection with efforts to resolve the dispute being arbitrated, except to the extent that
 applicable law permits the admission of such evidence.

        h. By mutual agreement only, the parties may agree to waive oral hearings in their entirety and
 proceed on document submission alone (“desk arbitration”).

          i. An arbitrator finding it necessary to make an inspection or investigation in connection with the
 issues presented in the arbitration shall direct ADR Services to so advise the parties. The arbitrator shall
 set the date and time for the inspection/investigation and ADR Services shall notify the parties. Any party
 who so desires may be present at such an inspection or investigation. In the event that one or all parties
 are not present at the inspection or investigation, the arbitrator shall make an oral or written report to the
 parties and afford them an opportunity to comment.

         j. The arbitrator may proceed with the hearing in the absence of a party who is bound to arbitrate,
 and who, after receiving a Notice of the Hearing, fails to attend. The arbitrator may not render an Award
 solely on the basis of the default or absence of the party, but shall require any party seeking relief to submit
 such evidence as the arbitrator may require for the rendering of an Award.

        k. The arbitrator shall declare the hearing closed upon the determination that all relevant material
 evidence and briefing has been presented. The closing of the hearing may be delayed until such time as
 post-hearing briefs are submitted or closing arguments presented.

          l. At any time before the Award is rendered, the arbitrator may re-open the hearing upon his or her
 own initiative or upon the application of a party for good cause. Any applicable time limits for rendering the
 Award will be extended accordingly.



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 35. The Award
         a. The Award shall be made within a reasonable time by the arbitrator, or within the time agreed to
 by the parties, or specified by law. The arbitrator may choose to keep the hearings open to accept post
 hearing briefs, issue interim Awards, or for any other reason.

         b. Where a panel of arbitrators has heard the dispute, the decision and Award of a majority of the
 panel shall constitute the arbitration Award and shall be binding on the parties.

         c. The Arbitrator will render a written, reasoned Award enumerating the disposition of the relevant
 material claims and relief sought. The Award will be signed by the Arbitrator and served on the parties.
 Service will be made by certified mail.

          d. The arbitrator may grant any remedy or relief that the arbitrator deems just and equitable and
 within the scope of the agreement of the parties, including, but not limited to, specific performance of a
 contract. In addition to a final Award, the arbitrator may make other decisions, including interim,
 interlocutory, or partial rulings, orders, and Awards. In any interim, interlocutory, or partial Award, the
 arbitrator may, at his or her discretion, assess and apportion the filing and/or administrative fees paid to
 ADR Services, allowable costs incurred during the arbitration, including the arbitrator’s fees. A request for
 costs shall be made by noticed motion of the requesting party, not exclusively by submission of a
 memorandum of costs, or as otherwise instructed by the arbitrator.

          e. Within ten (10) calendar days after service of a signed copy of the Award, any party may serve
 upon the other parties and on ADR Services a request that the arbitrator correct any computational,
 typographical, or other error in an Award. The Arbitrator may also initiate the process to correct errors in
 the Award. A party opposing such correction shall have ten (10) calendar days in which to file any objection.
 The Arbitrator may also consider a reply to the objection or other briefing at his or her discretion. The
 arbitrator is not empowered to reconsider the merits of any claim already decided. Any corrected Award
 shall be served upon the parties in the same manner as the Award. The Award is considered final, for
 purposes of a judicial proceeding to enforce, modify or vacate the Award, twenty (20) calendar days after
 service is deemed effective if no request for a correction is made, or as of the effective date of service of a
 corrected Award.

         f. If the parties settle their dispute during the course of the arbitration, the parties may submit a joint
 request for entry of a “Consent Award,” to be drafted and agreed upon by counsel, memorializing the terms
 of the parties’ settlement.

           g. ADR Services shall, upon the written request of a party, furnish to the party, at the party’s
 expense, certified copies of an Award in ADR Services’ possession that may be required in judicial
 proceedings relating to the arbitration. This includes seeking to enforce an arbitration award in a foreign
 tribunal.

           h. Parties to an arbitration under these rules shall be deemed to have consented to the right to seek
 confirmation and entry of judgment upon the Arbitration Award in any federal or state court having
 jurisdiction thereof.

 36. Confidentiality and Privacy
  The case management team, other essential ADR Services staff, and the arbitrator shall maintain the
 confidential nature of the arbitration proceeding and the Award unless otherwise required by law or judicial

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 decision. The arbitrator may issue orders to protect the confidentiality of proprietary information, trade
 secrets or other sensitive information. The arbitrator has the sole discretion to prevent certain non-parties
 to the arbitration from attending all or part of the hearings.

 37. Waiver of Objections or Right to Arbitrate
  Any party who proceeds with the arbitration after knowledge that any provision or requirement of these
 rules has not been complied with and who fails to state an objection in writing shall be deemed to have
 waived the right to object. If any party becomes aware of information that could be the basis of a challenge
 for cause to the continued service of the arbitrator, such challenge must be made promptly, in writing, to
 ADR Services. Failure to do so shall constitute a waiver of any objection to continued service by the
 arbitrator.

 No judicial proceeding commenced by a party relating to the subject matter of the arbitration shall be
 deemed a waiver of the party’s right to arbitrate.

 38. Exclusion of Liability/Competence to Testify
  Neither ADR Services nor any arbitrator shall be liable to any party for any act or omission in connection
 with any arbitration conducted under these rules. Should any party seek to hold ADR Services and/or the
 arbitrator civilly liable for conduct integrally related to the arbitral process, ADR Services and/or the
 arbitrator shall have the right to recover the reasonable attorneys’ fees and other costs and expenses
 (including expert witness fees) incurred in defending against such action, including any appeal, in such
 amount as may be determined.

  The parties may not call the arbitrator, the case manager or any other ADR Services employee or agent
 as a witness or as an expert in any pending or subsequent litigation or other proceeding involving the parties
 and relating to the dispute that is the subject of the arbitration. The arbitrator, case manager and other ADR
 Services employees and agents are also incompetent to testify as witnesses or experts in any such
 proceeding. (Evidence Code Section 703.5) The parties shall defend and/or pay the costs (including any
 attorneys’ fees incurred) of defending the arbitrator, case manager and/or ADR Services from any
 subpoenas from outside parties arising from the arbitration.

 39. Sanctions
 The arbitrator may order appropriate sanctions for failure of a party to comply with his/her/its obligations
 under any of these rules. These sanctions may include, but are not limited to, the assessment of costs,
 exclusion of some or all evidence, ruling adversely on an issue submitted to arbitration against the party
 who has failed to comply or, in extreme cases, dismissing any or all claims or defenses asserted by the
 party who has willfully failed to comply.

 40. Filing and Administrative Fees
 ADR Services has a nonrefundable initial filing fee and/or administrative fee. Such fees shall be paid in
 accordance with ADR Services’ Fee Schedules (https://www.adrservices.com/rate-fee-schedule/).

 41. Other Expenses Incurred by the Parties
 The expenses of witnesses for either side shall be paid by the party producing such witnesses. All other
 expenses of the arbitration, including required travel and other expenses of the arbitrator, and the expense

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 incurred for any witness, record, transcript, or document produced at the direct request of the arbitrator,
 shall be borne equally by the parties, unless they agree otherwise or unless the arbitrator, at his or her
 discretion, assesses such expenses or any part thereof against any specified party or parties as an
 allowable cost in the Award.

 42. Neutral Arbitrator’s Compensation
  Arbitrators are compensated for all time spent working on the arbitration including, but not limited to,
 preparation and study, conducting the hearing, and deliberation and drafting of the Award. Arbitrators shall
 be compensated at a rate consistent with the arbitrator’s stated rate of compensation. Any arrangement for
 the compensation of a neutral arbitrator shall be made through ADR Services and not directly between the
 parties and the arbitrator.

  In the event of a protracted continuing arbitration, during which time the arbitrator has increased his or her
 stated rate of compensation in accordance with standard practice and procedure, the parties shall be given
 thirty (30) calendar days’ notice and shall compensate the arbitrator at the increased rate, unless otherwise
 agreed upon by the arbitrator.

 43. Payment of Arbitrator’s Fees
 Counsel will be held responsible for payment of all charges associated with the arbitrator’s services in this
 matter. Counsel for each party, subject to apportionment by the arbitrator as set forth below, shall pay a
 pro rata share of the arbitrator’s fees and expenses unless the parties’ agreement or other applicable law
 requires a different allocation. The parties shall agree on the applicable fee split at the outset of the matter
 and, if unable to do so, initial fees will be assessed on a pro rata basis subject to reassessment by the
 arbitrator.

 For purposes of apportioning fees, party entities whose interests are not adverse with respect to the issues
 in dispute may be treated as a single party. Where disputed, the arbitrator shall determine whether the
 interests between entities are adverse for purpose of apportioning the fees, considering such factors as
 whether the entities are represented by the same attorney and whether the entities are presenting joint or
 separate positions at the arbitration.

 Although ADR Services will make an estimate of the time necessary to be billed in the first statement,
 additional time may be billed as used. Payment accounts of the parties must be kept current, and ADR
 Services reserves the right to hold the Award until all fees due and owing have been paid.

 ADR Services requires that counsel deposit the arbitrator’s fees and any expenses for the arbitration at
 least sixty (60) calendar days in advance of the first evidentiary hearing. If arbitrator compensation has not
 been paid in full in advance, ADR Services may so inform the parties in order that one of them may advance
 the required payment. If such payments are not made, the arbitrator may order the suspension or
 termination of the proceedings. If a party has failed to deposit its pro-rata or agreed-upon share of the
 arbitrator’s fees and expenses, that party cannot be excluded from the arbitration hearing, but will be
 precluded from offering evidence in support of any affirmative relief, claim or defense at the hearing.

 The arbitrator may, in his or her discretion, assess such fees and expenses or any part thereof against any
 party in the Award. In the event that one party has not paid or appeared and the other party has paid the
 full amount of the fees, the arbitrator may, upon request, award the defaulting party’s share of the fee



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 obligation against it and in favor of the party that has paid. In addition, the arbitrator may award against any
 party any fees and/or expenses that the party owes with respect to the arbitration.

 44. Declining or Discontinuing Arbitration
 ADR Services may, in its sole discretion, decline a request to commence an arbitration filed with any of our
 offices.

 ADR Services also reserves the right to discontinue the administration of an ongoing arbitration when a
 party or attorney engages in improper or unacceptable conduct. Such conduct includes, but is not limited
 to, the use of abusive language, threats or harassment towards any ADR Services staff, the arbitrator, or
 another party or that party’s representative, or where a party or attorney makes it unreasonably difficult for
 ADR Services to administer the arbitration effectively.




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                        EXHIBIT C




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                                    Commercial
                                     Arbitration Rules and Mediation Procedures

                                     Including Procedures for Large, Complex Commercial Disputes




                                     Available online at adr.org/commercial

                                     Rules Amended and Effective October 1, 2013

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         Commercial Arbitration Rules
         and Mediation Procedures
        (Including Procedures for Large, Complex Commercial Disputes)




    Important Notice

    These rules and any amendment of them shall apply in the form in effect at the
    time the administrative ﬁling requirements are met for a demand for arbitration
    or submission agreement received by the AAA®. To ensure that you have the
    most current information, see our web site at www.adr.org.


    Introduction

    Each year, many millions of business transactions take place. Occasionally,
    disagreements develop over these business transactions. Many of these disputes
    are resolved by arbitration, the voluntary submission of a dispute to an impartial
    person or persons for ﬁnal and binding determination. Arbitration has proven to be
    an effective way to resolve these disputes privately, promptly, and economically.

    The American Arbitration Association® (AAA), a not-for-proﬁt, public service
    organization, offers a broad range of dispute resolution services to business
    executives, attorneys, individuals, trade associations, unions, management,
    consumers, families, communities, and all levels of government. Services are
    available through AAA headquarters in New York and through ofﬁces located in
    major cities throughout the United States. Hearings may be held at locations
    convenient for the parties and are not limited to cities with AAA ofﬁces. In
    addition, the AAA serves as a center for education and training, issues
    specialized publications, and conducts research on various forms of alternative
    dispute resolution.




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    Standard Arbitration Clause

    The parties can provide for arbitration of future disputes by inserting the
    following clause into their contracts:

         Any controversy or claim arising out of or relating to this contract, or the
         breach thereof, shall be settled by arbitration administered by the
         American Arbitration Association under its Commercial Arbitration Rules,
         and judgment on the award rendered by the arbitrator(s) may be entered
         in any court having jurisdiction thereof.

    Arbitration of existing disputes may be accomplished by use of the following:

         We, the undersigned parties, hereby agree to submit to arbitration
         administered by the American Arbitration Association under its
         Commercial Arbitration Rules the following Controversy: (describe brieﬂy).
         We further agree that the above controversy be submitted to (one) (three)
         arbitrator(s). We further agree that we will faithfully observe this
         agreement and the rules, that we will abide by and perform any award
         rendered by the arbitrator(s), and that a judgment of any court having
         jurisdiction may be entered on the award.

    The services of the AAA are generally concluded with the transmittal of the
    award. Although there is voluntary compliance with the majority of awards,
    judgment on the award can be entered in a court having appropriate jurisdiction
    if necessary.


    Administrative Fees

    The AAA charges a ﬁling fee based on the amount of the claim or counterclaim.
    This fee information, which is included with these rules, allows the parties to
    exercise control over their administrative fees. The fees cover AAA administrative
    services; they do not cover arbitrator compensation or expenses, if any, reporting
    services, or any post-award charges incurred by the parties in enforcing the award.


    Mediation

    Subject to the right of any party to opt out, in cases where a claim or
    counterclaim exceeds $75,000, the rules provide that the parties shall mediate
    their dispute upon the administration of the arbitration or at any time when the


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    arbitration is pending. In mediation, the neutral mediator assists the parties in
    reaching a settlement but does not have the authority to make a binding
    decision or award. Mediation is administered by the AAA in accordance with its
    Commercial Mediation Procedures. There is no additional ﬁling fee where parties
    to a pending arbitration attempt to mediate their dispute under the AAA’s auspices.

    Although these rules include a mediation procedure that will apply to many
    cases, parties may still want to incorporate mediation into their contractual dispute
    settlement process. Parties can do so by inserting the following mediation clause
    into their contract in conjunction with a standard arbitration provision:

          If a dispute arises out of or relates to this contract, or the breach thereof,
          and if the dispute cannot be settled through negotiation, the parties
          agree ﬁrst to try in good faith to settle the dispute by mediation
          administered by the American Arbitration Association under its
          Commercial Mediation Procedures before resorting to arbitration,
          litigation, or some other dispute resolution procedure.

    If the parties want to use a mediator to resolve an existing dispute, they can
    enter into the following submission agreement:

          The parties hereby submit the following dispute to mediation
          administered by the American Arbitration Association under its
          Commercial Mediation Procedures. (The clause may also provide for the
          qualiﬁcations of the mediator(s), method of payment, locale of meetings,
          and any other item of concern to the parties.)

    Large, Complex Cases

    Unless the parties agree otherwise, the procedures for Large, Complex
    Commercial Disputes, which appear in this pamphlet, will be applied to all cases
    administered by the AAA under the Commercial Arbitration Rules in which the
    disclosed claim or counterclaim of any party is at least $500,000 exclusive of
    claimed interest, arbitration fees and costs. The key features of these procedures
    include:

    >     A highly qualiﬁed, trained Roster of Neutrals;
    >     A mandatory preliminary hearing with the arbitrators, which may be conducted by
          teleconference;
    >     Broad arbitrator authority to order and control the exchange of information,
          including depositions;
    >     A presumption that hearings will proceed on a consecutive or block basis.
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    Commercial Arbitration Rules

    R-1. Agreement of Parties*

    (a) The parties shall be deemed to have made these rules a part of their arbitration
        agreement whenever they have provided for arbitration by the American
        Arbitration Association (hereinafter AAA) under its Commercial Arbitration Rules
        or for arbitration by the AAA of a domestic commercial dispute without specifying
        particular rules. These rules and any amendment of them shall apply in the form
        in effect at the time the administrative requirements are met for a Demand for
        Arbitration or Submission Agreement received by the AAA. Any disputes
        regarding which AAA rules shall apply shall be decided by the AAA. The parties,
        by written agreement, may vary the procedures set forth in these rules. After
        appointment of the arbitrator, such modiﬁcations may be made only with the
        consent of the arbitrator.
    (b) Unless the parties or the AAA determines otherwise, the Expedited Procedures
        shall apply in any case in which no disclosed claim or counterclaim exceeds
        $75,000, exclusive of interest, attorneys’ fees, and arbitration fees and costs.
         Parties may also agree to use these procedures in larger cases. Unless the parties
         agree otherwise, these procedures will not apply in cases involving more than two
         parties. The Expedited Procedures shall be applied as described in Sections E-1
         through E-10 of these rules, in addition to any other portion of these rules that is
         not in conﬂict with the Expedited Procedures.
    (c) Unless the parties agree otherwise, the Procedures for Large, Complex
        Commercial Disputes shall apply to all cases in which the disclosed claim or
        counterclaim of any party is at least $500,000 or more, exclusive of claimed
        interest, attorneys’ fees, arbitration fees and costs. Parties may also agree to use
        the procedures in cases involving claims or counterclaims under $500,000, or in
        nonmonetary cases. The Procedures for Large, Complex Commercial Disputes
        shall be applied as described in Sections L-1 through L-3 of these rules, in
        addition to any other portion of these rules that is not in conﬂict with the
        Procedures for Large, Complex Commercial Disputes.
    (d) Parties may, by agreement, apply the Expedited Procedures, the Procedures for
        Large, Complex Commercial Disputes, or the Procedures for the Resolution of
        Disputes through Document Submission (Rule E-6) to any dispute.
    (e) All other cases shall be administered in accordance with Sections R-1 through R-58
        of these rules.

    * Beginning October 1, 2017, AAA will apply the Employment Fee Schedule to any dispute between an individual
      employee or an independent contractor (working or performing as an individual and not incorporated) and a
      business or organization and the dispute involves work or work-related claims, including any statutory claims and
      including work-related claims under independent contractor agreements. A dispute arising out of an employment
      plan will be administered under the AAA’s Employment Arbitration Rules and Mediation Procedures. A dispute
      arising out of a consumer arbitration agreement will be administered under the AAA’s Consumer Arbitration Rules.

    * Beginning June 1, 2021, AAA will apply the Consumer Arbitration Fee Schedule to any dispute between an online
      marketplace or platform and an individual user or subscriber (using or subscribed to the service as an individual
      and not incorporated) and the dispute does not involve work or work-related claims.

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    R-2. AAA and Delegation of Duties

    When parties agree to arbitrate under these rules, or when they provide for
    arbitration by the AAA and an arbitration is initiated under these rules, they
    thereby authorize the AAA to administer the arbitration. The authority and duties
    of the AAA are prescribed in the agreement of the parties and in these rules, and
    may be carried out through such of the AAA’s representatives as it may direct. The
    AAA may, in its discretion, assign the administration of an arbitration to any of its
    ofﬁces. Arbitrations administered under these rules shall only be administered by
    the AAA or by an individual or organization authorized by the AAA to do so.

    R-3. National Roster of Arbitrators

    The AAA shall establish and maintain a National Roster of Arbitrators (“National
    Roster”) and shall appoint arbitrators as provided in these rules. The term
    “arbitrator” in these rules refers to the arbitration panel, constituted for a
    particular case, whether composed of one or more arbitrators, or to an individual
    arbitrator, as the context requires.

    R-4. Filing Requirements

    (a) Arbitration under an arbitration provision in a contract shall be initiated by the
        initiating party (“claimant”) ﬁling with the AAA a Demand for Arbitration, the
        administrative ﬁling fee, and a copy of the applicable arbitration agreement from
        the parties’ contract which provides for arbitration.
    (b) Arbitration pursuant to a court order shall be initiated by the initiating party ﬁling
        with the AAA a Demand for Arbitration, the administrative ﬁling fee, and a copy of
        any applicable arbitration agreement from the parties’ contract which provides for
        arbitration.
          i.    The ﬁling party shall include a copy of the court order.
          ii. The ﬁling fee must be paid before a matter is considered properly ﬁled. If the
              court order directs that a speciﬁc party is responsible for the ﬁling fee, it is
              the responsibility of the ﬁling party to either make such payment to the AAA
              and seek reimbursement as directed in the court order or to make other such
              arrangements so that the ﬁling fee is submitted to the AAA with the Demand.
          iii. The party ﬁling the Demand with the AAA is the claimant and the opposing
               party is the respondent regardless of which party initiated the court action.
               Parties may request that the arbitrator alter the order of proceedings if
               necessary pursuant to R-32.
    (c) It is the responsibility of the ﬁling party to ensure that any conditions precedent
        to the ﬁling of a case are met prior to ﬁling for an arbitration, as well as any time
        requirements associated with the ﬁling. Any dispute regarding whether a condition
        precedent has been met may be raised to the arbitrator for determination.
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    (d) Parties to any existing dispute who have not previously agreed to use these rules
        may commence an arbitration under these rules by ﬁling a written submission
        agreement and the administrative ﬁling fee. To the extent that the parties’
        submission agreement contains any variances from these rules, such variances
        should be clearly stated in the Submission Agreement.
    (e) Information to be included with any arbitration ﬁling includes:
         i.   the name of each party;
         ii. the address for each party, including telephone and fax numbers and e-mail
             addresses;
         iii. if applicable, the names, addresses, telephone and fax numbers, and e-mail
              addresses of any known representative for each party;
         iv. a statement setting forth the nature of the claim including the relief sought
             and the amount involved; and
         v.   the locale requested if the arbitration agreement does not specify one.
    (f) The initiating party may ﬁle or submit a dispute to the AAA in the following
        manner:
         i.   through AAA WebFile, located at www.adr.org; or
         ii. by ﬁling the complete Demand or Submission with any AAA ofﬁce, regardless
             of the intended locale of hearing.
    (g) The ﬁling party shall simultaneously provide a copy of the Demand and any
        supporting documents to the opposing party.
    (h) The AAA shall provide notice to the parties (or their representatives if so named)
        of the receipt of a Demand or Submission when the administrative ﬁling
        requirements have been satisﬁed. The date on which the ﬁling requirements are
        satisﬁed shall establish the date of ﬁling the dispute for administration. However,
        all disputes in connection with the AAA’s determination of the date of ﬁling may
        be decided by the arbitrator.
    (i) If the ﬁling does not satisfy the ﬁling requirements set forth above, the AAA shall
        acknowledge to all named parties receipt of the incomplete ﬁling and inform the
        parties of the ﬁling deﬁciencies. If the deﬁciencies are not cured by the date
        speciﬁed by the AAA, the ﬁling may be returned to the initiating party.


    R-5. Answers and Counterclaims

    (a) A respondent may ﬁle an answering statement with the AAA within 14 calendar
        days after notice of the ﬁling of the Demand is sent by the AAA. The respondent
        shall, at the time of any such ﬁling, send a copy of any answering statement to
        the claimant and to all other parties to the arbitration. If no answering statement
        is ﬁled within the stated time, the respondent will be deemed to deny the claim.
        Failure to ﬁle an answering statement shall not operate to delay the arbitration.




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    (b) A respondent may ﬁle a counterclaim at any time after notice of the ﬁling of the
        Demand is sent by the AAA, subject to the limitations set forth in Rule R-6. The
        respondent shall send a copy of the counterclaim to the claimant and all other
        parties to the arbitration. If a counterclaim is asserted, it shall include a statement
        setting forth the nature of the counterclaim including the relief sought and the
        amount involved. The ﬁling fee as speciﬁed in the applicable AAA Fee Schedule
        must be paid at the time of the ﬁling of any counterclaim.
    (c) If the respondent alleges that a different arbitration provision is controlling, the
        matter will be administered in accordance with the arbitration provision submitted
        by the initiating party subject to a ﬁnal determination by the arbitrator.
    (d) If the counterclaim does not meet the requirements for ﬁling a claim and the
        deﬁciency is not cured by the date speciﬁed by the AAA, it may be returned to the
        ﬁling party.

    R-6. Changes of Claim

    (a) A party may at any time prior to the close of the hearing or by the date
        established by the arbitrator increase or decrease the amount of its claim or
        counterclaim. Written notice of the change of claim amount must be provided to
        the AAA and all parties. If the change of claim amount results in an increase in
        administrative fee, the balance of the fee is due before the change of claim
        amount may be accepted by the arbitrator.
    (b) Any new or different claim or counterclaim, as opposed to an increase or decrease
        in the amount of a pending claim or counterclaim, shall be made in writing and
        ﬁled with the AAA, and a copy shall be provided to the other party, who shall have
        a period of 14 calendar days from the date of such transmittal within which to ﬁle
        an answer to the proposed change of claim or counterclaim with the AAA. After
        the arbitrator is appointed, however, no new or different claim may be submitted
        except with the arbitrator’s consent.

    R-7. Jurisdiction

    (a) The arbitrator shall have the power to rule on his or her own jurisdiction, including
        any objections with respect to the existence, scope, or validity of the arbitration
        agreement or to the arbitrability of any claim or counterclaim.
    (b) The arbitrator shall have the power to determine the existence or validity of a
        contract of which an arbitration clause forms a part. Such an arbitration clause
        shall be treated as an agreement independent of the other terms of the contract.
        A decision by the arbitrator that the contract is null and void shall not for that
        reason alone render invalid the arbitration clause.
    (c) A party must object to the jurisdiction of the arbitrator or to the arbitrability of a
        claim or counterclaim no later than the ﬁling of the answering statement to the
        claim or counterclaim that gives rise to the objection. The arbitrator may rule on
        such objections as a preliminary matter or as part of the ﬁnal award.


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    R-8. Interpretation and Application of Rules

    The arbitrator shall interpret and apply these rules insofar as they relate to the
    arbitrator’s powers and duties. When there is more than one arbitrator and a
    difference arises among them concerning the meaning or application of these
    rules, it shall be decided by a majority vote. If that is not possible, either an
    arbitrator or a party may refer the question to the AAA for ﬁnal decision. All other
    rules shall be interpreted and applied by the AAA.

    R-9. Mediation

    In all cases where a claim or counterclaim exceeds $75,000, upon the AAA’s
    administration of the arbitration or at any time while the arbitration is pending,
    the parties shall mediate their dispute pursuant to the applicable provisions of
    the AAA’s Commercial Mediation Procedures, or as otherwise agreed by the
    parties. Absent an agreement of the parties to the contrary, the mediation shall
    take place concurrently with the arbitration and shall not serve to delay the
    arbitration proceedings. However, any party to an arbitration may unilaterally
    opt out of this rule upon notiﬁcation to the AAA and the other parties to the
    arbitration. The parties shall conﬁrm the completion of any mediation or any
    decision to opt out of this rule to the AAA. Unless agreed to by all parties and
    the mediator, the mediator shall not be appointed as an arbitrator to the case.

    R-10. Administrative Conference

    At the request of any party or upon the AAA’s own initiative, the AAA may
    conduct an administrative conference, in person or by telephone, with the parties
    and/or their representatives. The conference may address such issues as
    arbitrator selection, mediation of the dispute, potential exchange of information,
    a timetable for hearings, and any other administrative matters.

    R-11. Fixing of Locale

    The parties may mutually agree on the locale where the arbitration is to be held.
    Any disputes regarding the locale that are to be decided by the AAA must be
    submitted to the AAA and all other parties within 14 calendar days from the date
    of the AAA’s initiation of the case or the date established by the AAA. Disputes
    regarding locale shall be determined in the following manner:

    (a) When the parties’ arbitration agreement is silent with respect to locale, and if the
        parties disagree as to the locale, the AAA may initially determine the place of


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         arbitration, subject to the power of the arbitrator after appointment, to make a
         ﬁnal determination on the locale.
    (b) When the parties’ arbitration agreement requires a speciﬁc locale, absent the
        parties’ agreement to change it, or a determination by the arbitrator upon
        appointment that applicable law requires a different locale, the locale shall be that
        speciﬁed in the arbitration agreement.
    (c) If the reference to a locale in the arbitration agreement is ambiguous, and the
        parties are unable to agree to a speciﬁc locale, the AAA shall determine the
        locale, subject to the power of the arbitrator to ﬁnally determine the locale.


    The arbitrator, at the arbitrator’s sole discretion, shall have the authority to
    conduct special hearings for document production purposes or otherwise at
    other locations if reasonably necessary and beneﬁcial to the process.

    R-12. Appointment from National Roster

    If the parties have not appointed an arbitrator and have not provided any
    other method of appointment, the arbitrator shall be appointed in the following
    manner:

    (a) The AAA shall send simultaneously to each party to the dispute an identical list
        of 10 (unless the AAA decides that a different number is appropriate) names of
        persons chosen from the National Roster. The parties are encouraged to agree to
        an arbitrator from the submitted list and to advise the AAA of their agreement.
    (b) If the parties are unable to agree upon an arbitrator, each party to the dispute
        shall have 14 calendar days from the transmittal date in which to strike names
        objected to, number the remaining names in order of preference, and return the
        list to the AAA. The parties are not required to exchange selection lists. If a party
        does not return the list within the time speciﬁed, all persons named therein shall
        be deemed acceptable to that party. From among the persons who have been
        approved on both lists, and in accordance with the designated order of mutual
        preference, the AAA shall invite the acceptance of an arbitrator to serve. If the
        parties fail to agree on any of the persons named, or if acceptable arbitrators are
        unable to act, or if for any other reason the appointment cannot be made from
        the submitted lists, the AAA shall have the power to make the appointment
        from among other members of the National Roster without the submission of
        additional lists.
    (c) Unless the parties agree otherwise, when there are two or more claimants or two
        or more respondents, the AAA may appoint all the arbitrators.




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    R-13. Direct Appointment by a Party

    (a) If the agreement of the parties names an arbitrator or speciﬁes a method of
        appointing an arbitrator, that designation or method shall be followed. The notice
        of appointment, with the name and address of the arbitrator, shall be ﬁled with the
        AAA by the appointing party. Upon the request of any appointing party, the AAA
        shall submit a list of members of the National Roster from which the party may, if it
        so desires, make the appointment.
    (b) Where the parties have agreed that each party is to name one arbitrator, the
        arbitrators so named must meet the standards of Section R-18 with respect to
        impartiality and independence unless the parties have speciﬁcally agreed
        pursuant to Section R-18(b) that the party-appointed arbitrators are to be
        non-neutral and need not meet those standards.
    (c) If the agreement speciﬁes a period of time within which an arbitrator shall be
        appointed and any party fails to make the appointment within that period, the
        AAA shall make the appointment.
    (d) If no period of time is speciﬁed in the agreement, the AAA shall notify the party
        to make the appointment. If within 14 calendar days after such notice has been
        sent, an arbitrator has not been appointed by a party, the AAA shall make the
        appointment.

    R-14. Appointment of Chairperson by Party-Appointed Arbitrators or Parties

    (a) If, pursuant to Section R-13, either the parties have directly appointed arbitrators,
        or the arbitrators have been appointed by the AAA, and the parties have
        authorized them to appoint a chairperson within a speciﬁed time and no
        appointment is made within that time or any agreed extension, the AAA may
        appoint the chairperson.
    (b) If no period of time is speciﬁed for appointment of the chairperson, and the
        party-appointed arbitrators or the parties do not make the appointment within
        14 calendar days from the date of the appointment of the last party-appointed
        arbitrator, the AAA may appoint the chairperson.
    (c) If the parties have agreed that their party-appointed arbitrators shall appoint the
        chairperson from the National Roster, the AAA shall furnish to the party-appointed
        arbitrators, in the manner provided in Section R-12, a list selected from the
        National Roster, and the appointment of the chairperson shall be made as
        provided in that Section.




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    R-15. Nationality of Arbitrator

    Where the parties are nationals of different countries, the AAA, at the request of
    any party or on its own initiative, may appoint as arbitrator a national of a country
    other than that of any of the parties. The request must be made before the time
    set for the appointment of the arbitrator as agreed by the parties or set by these
    rules.

    R-16. Number of Arbitrators

    (a) If the arbitration agreement does not specify the number of arbitrators, the
        dispute shall be heard and determined by one arbitrator, unless the AAA, in its
        discretion, directs that three arbitrators be appointed. A party may request three
        arbitrators in the Demand or Answer, which request the AAA will consider in
        exercising its discretion regarding the number of arbitrators appointed to the
        dispute.
    (b) Any request for a change in the number of arbitrators as a result of an increase or
        decrease in the amount of a claim or a new or different claim must be made to
        the AAA and other parties to the arbitration no later than seven calendar days
        after receipt of the R-6 required notice of change of claim amount. If the parties
        are unable to agree with respect to the request for a change in the number of
        arbitrators, the AAA shall make that determination.

    R-17. Disclosure

    (a) Any person appointed or to be appointed as an arbitrator, as well as the parties
        and their representatives, shall disclose to the AAA any circumstance likely to give
        rise to justiﬁable doubt as to the arbitrator’s impartiality or independence,
        including any bias or any ﬁnancial or personal interest in the result of the arbitration
        or any past or present relationship with the parties or their representatives. Such
        obligation shall remain in effect throughout the arbitration. Failure on the part of a
        party or a representative to comply with the requirements of this rule may result in
        the waiver of the right to object to an arbitrator in accordance with Rule R-41.
    (b) Upon receipt of such information from the arbitrator or another source, the AAA
        shall communicate the information to the parties and, if it deems it appropriate to
        do so, to the arbitrator and others.
    (c) Disclosure of information pursuant to this Section R-17 is not an indication that the
        arbitrator considers that the disclosed circumstance is likely to affect impartiality
        or independence.




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    R-18. Disqualiﬁcation of Arbitrator

    (a) Any arbitrator shall be impartial and independent and shall perform his or her
        duties with diligence and in good faith, and shall be subject to disqualiﬁcation for:
         i.   partiality or lack of independence,
         ii. inability or refusal to perform his or her duties with diligence and in good
             faith, and
         iii. any grounds for disqualiﬁcation provided by applicable law.
    (b) The parties may agree in writing, however, that arbitrators directly appointed by a
        party pursuant to Section R-13 shall be non-neutral, in which case such arbitrators
        need not be impartial or independent and shall not be subject to disqualiﬁcation
        for partiality or lack of independence.
    (c) Upon objection of a party to the continued service of an arbitrator, or on its own
        initiative, the AAA shall determine whether the arbitrator should be disqualiﬁed
        under the grounds set out above, and shall inform the parties of its decision,
        which decision shall be conclusive.


    R-19. Communication with Arbitrator

    (a) No party and no one acting on behalf of any party shall communicate ex parte
        with an arbitrator or a candidate for arbitrator concerning the arbitration,
        except that a party, or someone acting on behalf of a party, may communicate
        ex parte with a candidate for direct appointment pursuant to R-13 in order to
        advise the candidate of the general nature of the controversy and of the
        anticipated proceedings and to discuss the candidate’s qualiﬁcations, availability,
        or independence in relation to the parties or to discuss the suitability of
        candidates for selection as a third arbitrator where the parties or party-designated
        arbitrators are to participate in that selection.
    (b) Section R-19(a) does not apply to arbitrators directly appointed by the parties
        who, pursuant to Section R-18(b), the parties have agreed in writing are
        non-neutral. Where the parties have so agreed under Section R-18(b), the AAA
        shall as an administrative practice suggest to the parties that they agree further
        that Section R-19(a) should nonetheless apply prospectively.
    (c) In the course of administering an arbitration, the AAA may initiate
        communications with each party or anyone acting on behalf of the parties either
        jointly or individually.
    (d) As set forth in R-43, unless otherwise instructed by the AAA or by the arbitrator,
        any documents submitted by any party or to the arbitrator shall simultaneously be
        provided to the other party or parties to the arbitration.




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    R-20. Vacancies

    (a) If for any reason an arbitrator is unable or unwilling to perform the duties of the
        ofﬁce, the AAA may, on proof satisfactory to it, declare the ofﬁce vacant. Vacancies
        shall be ﬁlled in accordance with the applicable provisions of these rules.
    (b) In the event of a vacancy in a panel of neutral arbitrators after the hearings have
        commenced, the remaining arbitrator or arbitrators may continue with the hearing
        and determination of the controversy, unless the parties agree otherwise.
    (c) In the event of the appointment of a substitute arbitrator, the panel of arbitrators
        shall determine in its sole discretion whether it is necessary to repeat all or part of
        any prior hearings.


    R-21. Preliminary Hearing

    (a) At the discretion of the arbitrator, and depending on the size and complexity of
        the arbitration, a preliminary hearing should be scheduled as soon as practicable
        after the arbitrator has been appointed. The parties should be invited to attend
        the preliminary hearing along with their representatives. The preliminary hearing
        may be conducted in person or by telephone.
    (b) At the preliminary hearing, the parties and the arbitrator should be prepared
        to discuss and establish a procedure for the conduct of the arbitration that is
        appropriate to achieve a fair, efﬁcient, and economical resolution of the dispute.
        Sections P-1 and P-2 of these rules address the issues to be considered at the
        preliminary hearing.


    R-22. Pre-Hearing Exchange and Production of Information

    (a) Authority of arbitrator. The arbitrator shall manage any necessary exchange of
        information among the parties with a view to achieving an efﬁcient and
        economical resolution of the dispute, while at the same time promoting equality
        of treatment and safeguarding each party’s opportunity to fairly present its claims
        and defenses.
    (b) Documents. The arbitrator may, on application of a party or on the arbitrator’s own
        initiative:
          i.    require the parties to exchange documents in their possession or custody on
                which they intend to rely;
          ii. require the parties to update their exchanges of the documents on which they
              intend to rely as such documents become known to them;
          iii. require the parties, in response to reasonable document requests, to make
               available to the other party documents, in the responding party’s possession
               or custody, not otherwise readily available to the party seeking the
               documents, reasonably believed by the party seeking the documents to exist
               and to be relevant and material to the outcome of disputed issues; and

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         iv. require the parties, when documents to be exchanged or produced are
             maintained in electronic form, to make such documents available in the form
             most convenient and economical for the party in possession of such
             documents, unless the arbitrator determines that there is good cause for
             requiring the documents to be produced in a different form. The parties
             should attempt to agree in advance upon, and the arbitrator may determine,
             reasonable search parameters to balance the need for production of
             electronically stored documents relevant and material to the outcome of
             disputed issues against the cost of locating and producing them.

    R-23. Enforcement Powers of the Arbitrator

    The arbitrator shall have the authority to issue any orders necessary to enforce
    the provisions of rules R-21 and R-22 and to otherwise achieve a fair, efﬁcient and
    economical resolution of the case, including, without limitation:

    (a) conditioning any exchange or production of conﬁdential documents and
        information, and the admission of conﬁdential evidence at the hearing, on
        appropriate orders to preserve such conﬁdentiality;
    (b) imposing reasonable search parameters for electronic and other documents if the
        parties are unable to agree;
    (c) allocating costs of producing documentation, including electronically stored
        documentation;
    (d) in the case of willful non-compliance with any order issued by the arbitrator,
        drawing adverse inferences, excluding evidence and other submissions, and/or
        making special allocations of costs or an interim award of costs arising from such
        non-compliance; and
    (e) issuing any other enforcement orders which the arbitrator is empowered to issue
        under applicable law.

    R-24. Date, Time, and Place of Hearing

    The arbitrator shall set the date, time, and place for each hearing. The parties
    shall respond to requests for hearing dates in a timely manner, be cooperative in
    scheduling the earliest practicable date, and adhere to the established hearing
    schedule. The AAA shall send a notice of hearing to the parties at least 10 calendar
    days in advance of the hearing date, unless otherwise agreed by the parties.




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    R-25. Attendance at Hearings

    The arbitrator and the AAA shall maintain the privacy of the hearings unless the
    law provides to the contrary. Any person having a direct interest in the arbitration
    is entitled to attend hearings. The arbitrator shall otherwise have the power to
    require the exclusion of any witness, other than a party or other essential person,
    during the testimony of any other witness. It shall be discretionary with the
    arbitrator to determine the propriety of the attendance of any other person.

    R-26. Representation

    Any party may participate without representation (pro se), or by counsel or any
    other representative of the party’s choosing, unless such choice is prohibited by
    applicable law. A party intending to be so represented shall notify the other party
    and the AAA of the name, telephone number and address, and email address if
    available, of the representative at least seven calendar days prior to the date set
    for the hearing at which that person is ﬁrst to appear. When such a representative
    initiates an arbitration or responds for a party, notice is deemed to have been
    given.

    R-27. Oaths

    Before proceeding with the ﬁrst hearing, each arbitrator may take an oath of
    ofﬁce and, if required by law, shall do so. The arbitrator may require witnesses to
    testify under oath administered by any duly qualiﬁed person and, if it is required
    by law or requested by any party, shall do so.

    R-28. Stenographic Record

    (a) Any party desiring a stenographic record shall make arrangements directly with
        a stenographer and shall notify the other parties of these arrangements at least
        three calendar days in advance of the hearing. The requesting party or parties
        shall pay the cost of the record.
    (b) No other means of recording the proceedings will be permitted absent the
        agreement of the parties or per the direction of the arbitrator.
    (c) If the transcript or any other recording is agreed by the parties or determined by
        the arbitrator to be the ofﬁcial record of the proceeding, it must be provided to
        the arbitrator and made available to the other parties for inspection, at a date,
        time, and place determined by the arbitrator.
    (d) The arbitrator may resolve any disputes with regard to apportionment of the costs
        of the stenographic record or other recording.



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    R-29. Interpreters

    Any party wishing an interpreter shall make all arrangements directly with the
    interpreter and shall assume the costs of the service.

    R-30. Postponements

    The arbitrator may postpone any hearing upon agreement of the parties, upon
    request of a party for good cause shown, or upon the arbitrator’s own initiative.

    R-31. Arbitration in the Absence of a Party or Representative

    Unless the law provides to the contrary, the arbitration may proceed in the
    absence of any party or representative who, after due notice, fails to be present
    or fails to obtain a postponement. An award shall not be made solely on the
    default of a party. The arbitrator shall require the party who is present to submit
    such evidence as the arbitrator may require for the making of an award.

    R-32. Conduct of Proceedings

    (a) The claimant shall present evidence to support its claim. The respondent shall
        then present evidence to support its defense. Witnesses for each party shall also
        submit to questions from the arbitrator and the adverse party. The arbitrator has
        the discretion to vary this procedure, provided that the parties are treated with
        equality and that each party has the right to be heard and is given a fair
        opportunity to present its case.
    (b) The arbitrator, exercising his or her discretion, shall conduct the proceedings with
        a view to expediting the resolution of the dispute and may direct the order of
        proof, bifurcate proceedings and direct the parties to focus their presentations on
        issues the decision of which could dispose of all or part of the case.
    (c) When deemed appropriate, the arbitrator may also allow for the presentation of
        evidence by alternative means including video conferencing, internet
        communication, telephonic conferences and means other than an in-person
        presentation. Such alternative means must afford a full opportunity for all parties
        to present any evidence that the arbitrator deems material and relevant to the
        resolution of the dispute and, when involving witnesses, provide an opportunity
        for cross-examination.
    (d) The parties may agree to waive oral hearings in any case and may also agree to
        utilize the Procedures for Resolution of Disputes Through Document Submission,
        found in Rule E-6.




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    R-33. Dispositive Motions

    The arbitrator may allow the ﬁling of and make rulings upon a dispositive motion
    only if the arbitrator determines that the moving party has shown that the motion
    is likely to succeed and dispose of or narrow the issues in the case.

    R-34. Evidence

    (a) The parties may offer such evidence as is relevant and material to the dispute and
        shall produce such evidence as the arbitrator may deem necessary to an
        understanding and determination of the dispute. Conformity to legal rules of
        evidence shall not be necessary. All evidence shall be taken in the presence of all
        of the arbitrators and all of the parties, except where any of the parties is absent,
        in default, or has waived the right to be present.
    (b) The arbitrator shall determine the admissibility, relevance, and materiality of the
        evidence offered and may exclude evidence deemed by the arbitrator to be
        cumulative or irrelevant.
    (c) The arbitrator shall take into account applicable principles of legal privilege, such
        as those involving the conﬁdentiality of communications between a lawyer and
        client.
    (d) An arbitrator or other person authorized by law to subpoena witnesses or
        documents may do so upon the request of any party or independently.


    R-35. Evidence by Written Statements and Post-Hearing Filing of Documents
    or Other Evidence

    (a) At a date agreed upon by the parties or ordered by the arbitrator, the parties shall
        give written notice for any witness or expert witness who has provided a written
        witness statement to appear in person at the arbitration hearing for examination.
        If such notice is given, and the witness fails to appear, the arbitrator may disregard
        the written witness statement and/or expert report of the witness or make such
        other order as the arbitrator may consider to be just and reasonable.
    (b) If a witness whose testimony is represented by a party to be essential is unable or
        unwilling to testify at the hearing, either in person or through electronic or other
        means, either party may request that the arbitrator order the witness to appear
        in person for examination before the arbitrator at a time and location where the
        witness is willing and able to appear voluntarily or can legally be compelled to do
        so. Any such order may be conditioned upon payment by the requesting party of
        all reasonable costs associated with such examination.
    (c) If the parties agree or the arbitrator directs that documents or other evidence be
        submitted to the arbitrator after the hearing, the documents or other evidence
        shall be ﬁled with the AAA for transmission to the arbitrator. All parties shall be
        afforded an opportunity to examine and respond to such documents or other
        evidence.

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    R-36. Inspection or Investigation

    An arbitrator ﬁnding it necessary to make an inspection or investigation in
    connection with the arbitration shall direct the AAA to so advise the parties. The
    arbitrator shall set the date and time and the AAA shall notify the parties. Any
    party who so desires may be present at such an inspection or investigation. In the
    event that one or all parties are not present at the inspection or investigation, the
    arbitrator shall make an oral or written report to the parties and afford them an
    opportunity to comment.

    R-37. Interim Measures

    (a) The arbitrator may take whatever interim measures he or she deems necessary,
        including injunctive relief and measures for the protection or conservation of
        property and disposition of perishable goods.
    (b) Such interim measures may take the form of an interim award, and the arbitrator
        may require security for the costs of such measures.
    (c) A request for interim measures addressed by a party to a judicial authority shall
        not be deemed incompatible with the agreement to arbitrate or a waiver of the
        right to arbitrate.

    R-38. Emergency Measures of Protection

    (a) Unless the parties agree otherwise, the provisions of this rule shall apply to
        arbitrations conducted under arbitration clauses or agreements entered on or
        after October 1, 2013.
    (b) A party in need of emergency relief prior to the constitution of the panel shall
        notify the AAA and all other parties in writing of the nature of the relief sought
        and the reasons why such relief is required on an emergency basis. The application
        shall also set forth the reasons why the party is entitled to such relief. Such notice
        may be given by facsimile or e-mail or other reliable means, but must include a
        statement certifying that all other parties have been notiﬁed or an explanation of
        the steps taken in good faith to notify other parties.
    (c) Within one business day of receipt of notice as provided in section (b), the AAA
        shall appoint a single emergency arbitrator designated to rule on emergency
        applications. The emergency arbitrator shall immediately disclose any
        circumstance likely, on the basis of the facts disclosed on the application, to affect
        such arbitrator’s impartiality or independence. Any challenge to the appointment
        of the emergency arbitrator must be made within one business day of the
        communication by the AAA to the parties of the appointment of the emergency
        arbitrator and the circumstances disclosed.




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    (d) The emergency arbitrator shall as soon as possible, but in any event within two
        business days of appointment, establish a schedule for consideration of the
        application for emergency relief. Such a schedule shall provide a reasonable
        opportunity to all parties to be heard, but may provide for proceeding by
        telephone or video conference or on written submissions as alternatives to a
        formal hearing. The emergency arbitrator shall have the authority vested in the
        tribunal under Rule 7, including the authority to rule on her/his own jurisdiction,
        and shall resolve any disputes over the applicability of this Rule 38.
    (e) If after consideration the emergency arbitrator is satisﬁed that the party seeking
        the emergency relief has shown that immediate and irreparable loss or damage
        shall result in the absence of emergency relief, and that such party is entitled to
        such relief, the emergency arbitrator may enter an interim order or award granting
        the relief and stating the reason therefore.
    (f) Any application to modify an interim award of emergency relief must be based on
        changed circumstances and may be made to the emergency arbitrator until the
        panel is constituted; thereafter such a request shall be addressed to the panel.
        The emergency arbitrator shall have no further power to act after the panel is
        constituted unless the parties agree that the emergency arbitrator is named as a
        member of the panel.
    (g) Any interim award of emergency relief may be conditioned on provision by the
        party seeking such relief for appropriate security.
    (h) A request for interim measures addressed by a party to a judicial authority shall
        not be deemed incompatible with this rule, the agreement to arbitrate or a waiver
        of the right to arbitrate. If the AAA is directed by a judicial authority to nominate a
        special master to consider and report on an application for emergency relief, the
        AAA shall proceed as provided in this rule and the references to the emergency
        arbitrator shall be read to mean the special master, except that the special master
        shall issue a report rather than an interim award.
    (i) The costs associated with applications for emergency relief shall initially be
        apportioned by the emergency arbitrator or special master, subject to the power
        of the tribunal to determine ﬁnally the apportionment of such costs.

    R-39. Closing of Hearing

    (a) The arbitrator shall speciﬁcally inquire of all parties whether they have any further
        proofs to offer or witnesses to be heard. Upon receiving negative replies or if
        satisﬁed that the record is complete, the arbitrator shall declare the hearing closed.
    (b) If documents or responses are to be ﬁled as provided in Rule R-35, or if briefs are
        to be ﬁled, the hearing shall be declared closed as of the ﬁnal date set by the
        arbitrator for the receipt of briefs. If no documents, responses, or briefs are to
        be ﬁled, the arbitrator shall declare the hearings closed as of the date of the last
        hearing (including telephonic hearings). If the case was heard without any oral
        hearings, the arbitrator shall close the hearings upon the due date established for
        receipt of the ﬁnal submission.


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    (c) The time limit within which the arbitrator is required to make the award shall
        commence, in the absence of other agreements by the parties, upon the closing
        of the hearing. The AAA may extend the time limit for rendering of the award only
        in unusual and extreme circumstances.

    R-40. Reopening of Hearing

    The hearing may be reopened on the arbitrator’s initiative, or by the direction of
    the arbitrator upon application of a party, at any time before the award is made. If
    reopening the hearing would prevent the making of the award within the speciﬁc
    time agreed to by the parties in the arbitration agreement, the matter may not
    be reopened unless the parties agree to an extension of time. When no speciﬁc
    date is ﬁxed by agreement of the parties , the arbitrator shall have 30 calendar
    days from the closing of the reopened hearing within which to make an award
    (14 calendar days if the case is governed by the Expedited Procedures).

    R-41. Waiver of Rules

    Any party who proceeds with the arbitration after knowledge that any provision
    or requirement of these rules has not been complied with and who fails to state
    an objection in writing shall be deemed to have waived the right to object.

    R-42. Extensions of Time

    The parties may modify any period of time by mutual agreement. The AAA or the
    arbitrator may for good cause extend any period of time established by these
    rules, except the time for making the award. The AAA shall notify the parties of
    any extension.

    R-43. Serving of Notice and Communications

    (a) Any papers, notices, or process necessary or proper for the initiation or
        continuation of an arbitration under these rules, for any court action in connection
        therewith, or for the entry of judgment on any award made under these rules may
        be served on a party by mail addressed to the party or its representative at the last
        known address or by personal service, in or outside the state where the arbitration
        is to be held, provided that reasonable opportunity to be heard with regard to the
        dispute is or has been granted to the party.
    (b) The AAA, the arbitrator and the parties may also use overnight delivery or
        electronic facsimile transmission (fax), or electronic (e-mail) to give the notices
        required by these rules. Where all parties and the arbitrator agree, notices may be
        transmitted by e-mail or other methods of communication.



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    (c) Unless otherwise instructed by the AAA or by the arbitrator, any documents
        submitted by any party to the AAA or to the arbitrator shall simultaneously be
        provided to the other party or parties to the arbitration.
    (d) Unless otherwise instructed by the AAA or by the arbitrator, all written
        communications made by any party to the AAA or to the arbitrator shall
        simultaneously be provided to the other party or parties to the arbitration.
    (e) Failure to provide the other party with copies of communications made to the
        AAA or to the arbitrator may prevent the AAA or the arbitrator from acting on any
        requests or objections contained therein.
    (f) The AAA may direct that any oral or written communications that are sent by a
        party or their representative shall be sent in a particular manner. The failure of a
        party or their representative to do so may result in the AAA’s refusal to consider
        the issue raised in the communication.

    R-44. Majority Decision

    (a) When the panel consists of more than one arbitrator, unless required by law or by
        the arbitration agreement or section (b) of this rule, a majority of the arbitrators
        must make all decisions.
    (b) Where there is a panel of three arbitrators, absent an objection of a party or
        another member of the panel, the chairperson of the panel is authorized to
        resolve any disputes related to the exchange of information or procedural matters
        without the need to consult the full panel.

    R-45. Time of Award

    The award shall be made promptly by the arbitrator and, unless otherwise agreed
    by the parties or speciﬁed by law, no later than 30 calendar days from the date of
    closing the hearing, or, if oral hearings have been waived, from the due date set
    for receipt of the parties’ ﬁnal statements and proofs.

    R-46. Form of Award

    (a) Any award shall be in writing and signed by a majority of the arbitrators. It shall be
        executed in the form and manner required by law.
    (b) The arbitrator need not render a reasoned award unless the parties request such
        an award in writing prior to appointment of the arbitrator or unless the arbitrator
        determines that a reasoned award is appropriate.




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    R-47. Scope of Award

    (a) The arbitrator may grant any remedy or relief that the arbitrator deems just and
        equitable and within the scope of the agreement of the parties, including, but not
        limited to, speciﬁc performance of a contract.
    (b) In addition to a ﬁnal award, the arbitrator may make other decisions, including
        interim, interlocutory, or partial rulings, orders, and awards. In any interim,
        interlocutory, or partial award, the arbitrator may assess and apportion the fees,
        expenses, and compensation related to such award as the arbitrator determines is
        appropriate.
    (c) In the ﬁnal award, the arbitrator shall assess the fees, expenses, and compensation
        provided in Sections R-53, R-54, and R-55. The arbitrator may apportion such fees,
        expenses, and compensation among the parties in such amounts as the arbitrator
        determines is appropriate.
    (d) The award of the arbitrator(s) may include:
         i.   interest at such rate and from such date as the arbitrator(s) may deem
              appropriate; and
         ii. an award of attorneys’ fees if all parties have requested such an award or it is
             authorized by law or their arbitration agreement.

    R-48. Award Upon Settlement—Consent Award

    (a) If the parties settle their dispute during the course of the arbitration and if the
        parties so request, the arbitrator may set forth the terms of the settlement in a
        “consent award.” A consent award must include an allocation of arbitration costs,
        including administrative fees and expenses as well as arbitrator fees and expenses.
    (b) The consent award shall not be released to the parties until all administrative fees
        and all arbitrator compensation have been paid in full.

    R-49. Delivery of Award to Parties

    Parties shall accept as notice and delivery of the award the placing of the award or
    a true copy thereof in the mail addressed to the parties or their representatives
    at their last known addresses, personal or electronic service of the award, or the
    ﬁling of the award in any other manner that is permitted by law.

    R-50. Modiﬁcation of Award

    Within 20 calendar days after the transmittal of an award, any party, upon notice
    to the other parties, may request the arbitrator, through the AAA, to correct any
    clerical, typographical, or computational errors in the award. The arbitrator is not



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    empowered to redetermine the merits of any claim already decided. The other
    parties shall be given 10 calendar days to respond to the request. The arbitrator
    shall dispose of the request within 20 calendar days after transmittal by the AAA
    to the arbitrator of the request and any response thereto.

    R-51. Release of Documents for Judicial Proceedings

    The AAA shall, upon the written request of a party to the arbitration, furnish to
    the party, at its expense, copies or certiﬁed copies of any papers in the AAA’s
    possession that are not determined by the AAA to be privileged or conﬁdential.

    R-52. Applications to Court and Exclusion of Liability

    (a) No judicial proceeding by a party relating to the subject matter of the arbitration
        shall be deemed a waiver of the party’s right to arbitrate.
    (b) Neither the AAA nor any arbitrator in a proceeding under these rules is a
        necessary or proper party in judicial proceedings relating to the arbitration.
    (c) Parties to an arbitration under these rules shall be deemed to have consented that
        judgment upon the arbitration award may be entered in any federal or state court
        having jurisdiction thereof.
    (d) Parties to an arbitration under these rules shall be deemed to have consented
        that neither the AAA nor any arbitrator shall be liable to any party in any action for
        damages or injunctive relief for any act or omission in connection with any
        arbitration under these rules.
    (e) Parties to an arbitration under these rules may not call the arbitrator, the AAA, or
        AAA employees as a witness in litigation or any other proceeding relating to the
        arbitration. The arbitrator, the AAA and AAA employees are not competent to
        testify as witnesses in any such proceeding.

    R-53. Administrative Fees

    As a not-for-proﬁt organization, the AAA shall prescribe administrative fees to
    compensate it for the cost of providing administrative services. The fees in effect
    when the fee or charge is incurred shall be applicable. The ﬁling fee shall be
    advanced by the party or parties making a claim or counterclaim, subject to ﬁnal
    apportionment by the arbitrator in the award. The AAA may, in the event of
    extreme hardship on the part of any party, defer or reduce the administrative fees.

    R-54. Expenses

    The expenses of witnesses for either side shall be paid by the party producing
    such witnesses. All other expenses of the arbitration, including required travel

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    and other expenses of the arbitrator, AAA representatives, and any witness and
    the cost of any proof produced at the direct request of the arbitrator, shall be
    borne equally by the parties, unless they agree otherwise or unless the arbitrator
    in the award assesses such expenses or any part thereof against any speciﬁed
    party or parties.

    R-55. Neutral Arbitrator’s Compensation

    (a) Arbitrators shall be compensated at a rate consistent with the arbitrator’s stated
        rate of compensation.
    (b) If there is disagreement concerning the terms of compensation, an appropriate
        rate shall be established with the arbitrator by the AAA and conﬁrmed to the
        parties.
    (c) Any arrangement for the compensation of a neutral arbitrator shall be made
        through the AAA and not directly between the parties and the arbitrator.

    R-56. Deposits

    (a) The AAA may require the parties to deposit in advance of any hearings such sums
        of money as it deems necessary to cover the expense of the arbitration, including
        the arbitrator’s fee, if any, and shall render an accounting to the parties and return
        any unexpended balance at the conclusion of the case.
    (b) Other than in cases where the arbitrator serves for a ﬂat fee, deposit amounts
        requested will be based on estimates provided by the arbitrator. The arbitrator will
        determine the estimated amount of deposits using the information provided by
        the parties with respect to the complexity of each case.
    (c) Upon the request of any party, the AAA shall request from the arbitrator an
        itemization or explanation for the arbitrator’s request for deposits.

    R-57. Remedies for Nonpayment

    If arbitrator compensation or administrative charges have not been paid in full,
    the AAA may so inform the parties in order that one of them may advance the
    required payment.

    (a) Upon receipt of information from the AAA that payment for administrative
        charges or deposits for arbitrator compensation have not been paid in full, to
        the extent the law allows, a party may request that the arbitrator take speciﬁc
        measures relating to a party’s non-payment.
    (b) Such measures may include, but are not limited to, limiting a party’s ability to
        assert or pursue their claim. In no event, however, shall a party be precluded from
        defending a claim or counterclaim.



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    (c) The arbitrator must provide the party opposing a request for such measures with
        the opportunity to respond prior to making any ruling regarding the same.
    (d) In the event that the arbitrator grants any request for relief which limits any party’s
        participation in the arbitration, the arbitrator shall require the party who is making
        a claim and who has made appropriate payments to submit such evidence as the
        arbitrator may require for the making of an award.
    (e) Upon receipt of information from the AAA that full payments have not been
        received, the arbitrator, on the arbitrator’s own initiative or at the request of the
        AAA or a party, may order the suspension of the arbitration. If no arbitrator has yet
        been appointed, the AAA may suspend the proceedings.
    (f) If the arbitration has been suspended by either the AAA or the arbitrator and the
        parties have failed to make the full deposits requested within the time provided
        after the suspension, the arbitrator, or the AAA if an arbitrator has not been
        appointed, may terminate the proceedings.

    R-58. Sanctions

    (a) The arbitrator may, upon a party’s request, order appropriate sanctions where a
        party fails to comply with its obligations under these rules or with an order of the
        arbitrator. In the event that the arbitrator enters a sanction that limits any party’s
        participation in the arbitration or results in an adverse determination of an issue
        or issues, the arbitrator shall explain that order in writing and shall require the
        submission of evidence and legal argument prior to making of an award. The
        arbitrator may not enter a default award as a sanction.
    (b) The arbitrator must provide a party that is subject to a sanction request with the
        opportunity to respond prior to making any determination regarding the sanctions
        application.




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    Preliminary Hearing Procedures

    P-1. General

    (a) In all but the simplest cases, holding a preliminary hearing as early in the process
        as possible will help the parties and the arbitrator organize the proceeding in a
        manner that will maximize efﬁciency and economy, and will provide each party a
        fair opportunity to present its case.
    (b) Care must be taken to avoid importing procedures from court systems, as such
        procedures may not be appropriate to the conduct of arbitrations as an alternative
        form of dispute resolution that is designed to be simpler, less expensive and more
        expeditious.

    P-2. Checklist

    (a) The following checklist suggests subjects that the parties and the arbitrator should
        address at the preliminary hearing, in addition to any others that the parties or
        the arbitrator believe to be appropriate to the particular case. The items to be
        addressed in a particular case will depend on the size, subject matter, and
        complexity of the dispute, and are subject to the discretion of the arbitrator:
        (i)     the possibility of other non-adjudicative methods of dispute resolution,
                including mediation pursuant to R-9;
        (ii)    whether all necessary or appropriate parties are included in the arbitration;
        (iii)   whether a party will seek a more detailed statement of claims, counterclaims
                or defenses;
        (iv)    whether there are any anticipated amendments to the parties’ claims,
                counterclaims, or defenses;
        (v)     which
                (a) arbitration rules;
                (b) procedural law; and
                (c) substantive law govern the arbitration;
        (vi)    whether there are any threshold or dispositive issues that can efﬁciently be
                decided without considering the entire case, including without limitation,
                (a) any preconditions that must be satisﬁed before proceeding with the
                    arbitration;
                (b) whether any claim or counterclaim falls outside the arbitrator’s jurisdiction
                    or is otherwise not arbitrable;
                (c) consolidation of the claims or counterclaims with another arbitration; or
                (d) bifurcation of the proceeding.




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         (vii) whether the parties will exchange documents, including electronically stored
               documents, on which they intend to rely in the arbitration, and/or make
               written requests for production of documents within deﬁned parameters;
         (viii) whether to establish any additional procedures to obtain information that is
                relevant and material to the outcome of disputed issues;
         (ix)    how costs of any searches for requested information or documents that
                 would result in substantial costs should be borne;
         (x)     whether any measures are required to protect conﬁdential information;
         (xi)    whether the parties intend to present evidence from expert witnesses, and
                 if so, whether to establish a schedule for the parties to identify their experts
                 and exchange expert reports;
         (xii) whether, according to a schedule set by the arbitrator, the parties will
                 (a) identify all witnesses, the subject matter of their anticipated testimonies,
                     exchange written witness statements, and determine whether written
                     witness statements will replace direct testimony at the hearing;
                 (b) exchange and pre-mark documents that each party intends to submit;
                     and
                 (c) exchange pre-hearing submissions, including exhibits;
                 (d) the date, time and place of the arbitration hearing;
                 (e) whether, at the arbitration hearing,
         (xiii) testimony may be presented in person, in writing, by videoconference, via
                the internet, telephonically, or by other reasonable means;
         (xiv) there will be a stenographic transcript or other record of the proceeding and,
               if so, who will make arrangements to provide it;
                 (a) whether any procedure needs to be established for the issuance of
                     subpoenas;
                 (b) the identiﬁcation of any ongoing, related litigation or arbitration;
         (xv) whether post-hearing submissions will be ﬁled;
         (xvi) the form of the arbitration award; and
         (xvii) any other matter the arbitrator considers appropriate or a party wishes
                to raise.
    (b) The arbitrator shall issue a written order memorializing decisions made and
        agreements reached during or following the preliminary hearing.




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    Expedited Procedures

    E-1. Limitation on Extensions

    Except in extraordinary circumstances, the AAA or the arbitrator may grant a
    party no more than one seven-day extension of time to respond to the Demand
    for Arbitration or counterclaim as provided in Section R-5.

    E-2. Changes of Claim or Counterclaim

    A claim or counterclaim may be increased in amount, or a new or different claim
    or counterclaim added, upon the agreement of the other party, or the consent
    of the arbitrator. After the arbitrator is appointed, however, no new or different
    claim or counterclaim may be submitted except with the arbitrator’s consent. If an
    increased claim or counterclaim exceeds $75,000, the case will be administered
    under the regular procedures unless all parties and the arbitrator agree that the
    case may continue to be processed under the Expedited Procedures.

    E-3. Serving of Notices

    In addition to notice provided by Section R-43, the parties shall also accept
    notice by telephone. Telephonic notices by the AAA shall subsequently be
    conﬁrmed in writing to the parties. Should there be a failure to conﬁrm in writing
    any such oral notice, the proceeding shall nevertheless be valid if notice has, in
    fact, been given by telephone.

    E-4. Appointment and Qualiﬁcations of Arbitrator

    (a) The AAA shall simultaneously submit to each party an identical list of ﬁve
        proposed arbitrators drawn from its National Roster from which one arbitrator
        shall be appointed.
    (b) The parties are encouraged to agree to an arbitrator from this list and to advise
        the AAA of their agreement. If the parties are unable to agree upon an arbitrator,
        each party may strike two names from the list and return it to the AAA within
        seven days from the date of the AAA’s mailing to the parties. If for any reason the
        appointment of an arbitrator cannot be made from the list, the AAA may make
        the appointment from other members of the panel without the submission of
        additional lists.
    (c) The parties will be given notice by the AAA of the appointment of the arbitrator,
        who shall be subject to disqualiﬁcation for the reasons speciﬁed in Section R-18.
        The parties shall notify the AAA within seven calendar days of any objection to the
        arbitrator appointed. Any such objection shall be for cause and shall be conﬁrmed
        in writing to the AAA with a copy to the other party or parties.

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    E-5. Exchange of Exhibits

    At least two business days prior to the hearing, the parties shall exchange copies
    of all exhibits they intend to submit at the hearing. The arbitrator shall resolve
    disputes concerning the exchange of exhibits.

    E-6. Proceedings on Documents and Procedures for the Resolution of Disputes
    Through Document Submission

    Where no party’s claim exceeds $25,000, exclusive of interest, attorneys’ fees and
    arbitration costs, and other cases in which the parties agree, the dispute shall be
    resolved by submission of documents, unless any party requests an oral hearing,
    or the arbitrator determines that an oral hearing is necessary. Where cases are
    resolved by submission of documents, the following procedures may be utilized
    at the agreement of the parties or the discretion of the arbitrator:

    (a) Within 14 calendar days of conﬁrmation of the arbitrator’s appointment, the
        arbitrator may convene a preliminary management hearing, via conference call,
        video conference, or internet, to establish a fair and equitable procedure for the
        submission of documents, and, if the arbitrator deems appropriate, a schedule for
        one or more telephonic or electronic conferences.
    (b) The arbitrator has the discretion to remove the case from the documents-only
        process if the arbitrator determines that an in-person hearing is necessary.
    (c) If the parties agree to in-person hearings after a previous agreement to proceed
        under this rule, the arbitrator shall conduct such hearings. If a party seeks to have
        in-person hearings after agreeing to this rule, but there is not agreement among
        the parties to proceed with in-person hearings, the arbitrator shall resolve the
        issue after the parties have been given the opportunity to provide their respective
        positions on the issue.
    (d) The arbitrator shall establish the date for either written submissions or a ﬁnal
        telephonic or electronic conference. Such date shall operate to close the hearing
        and the time for the rendering of the award shall commence.
    (e) Unless the parties have agreed to a form of award other than that set forth in
        rule R-46, when the parties have agreed to resolve their dispute by this rule, the
        arbitrator shall render the award within 14 calendar days from the date the hearing
        is closed.
    (f) If the parties agree to a form of award other than that described in rule R-46, the
        arbitrator shall have 30 calendar days from the date the hearing is declared closed
        in which to render the award.
    (g) The award is subject to all other provisions of the Regular Track of these rules
        which pertain to awards.




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    E-7. Date, Time, and Place of Hearing

    In cases in which a hearing is to be held, the arbitrator shall set the date, time,
    and place of the hearing, to be scheduled to take place within 30 calendar days
    of conﬁrmation of the arbitrator’s appointment. The AAA will notify the parties in
    advance of the hearing date.

    E-8. The Hearing

    (a) Generally, the hearing shall not exceed one day. Each party shall have equal
        opportunity to submit its proofs and complete its case. The arbitrator shall
        determine the order of the hearing, and may require further submission of
        documents within two business days after the hearing. For good cause shown, the
        arbitrator may schedule additional hearings within seven business days after the
        initial day of hearings.
    (b) Generally, there will be no stenographic record. Any party desiring a stenographic
        record may arrange for one pursuant to the provisions of Section R-28.

    E-9. Time of Award

    Unless otherwise agreed by the parties, the award shall be rendered not
    later than 14 calendar days from the date of the closing of the hearing or, if oral
    hearings have been waived, from the due date established for the receipt of the
    parties’ ﬁnal statements and proofs.

    E-10. Arbitrator’s Compensation

    Arbitrators will receive compensation at a rate to be suggested by the AAA
    regional ofﬁce.




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    Procedures for Large, Complex Commercial Disputes

    L-1. Administrative Conference

    Prior to the dissemination of a list of potential arbitrators, the AAA shall, unless
    the parties agree otherwise, conduct an administrative conference with the
    parties and/or their attorneys or other representatives by conference call. The
    conference will take place within 14 calendar days after the commencement of
    the arbitration. In the event the parties are unable to agree on a mutually
    acceptable time for the conference, the AAA may contact the parties individually
    to discuss the issues contemplated herein. Such administrative conference shall
    be conducted for the following purposes and for such additional purposes as the
    parties or the AAA may deem appropriate:

    (a) to obtain additional information about the nature and magnitude of the dispute
        and the anticipated length of hearing and scheduling;
    (b) to discuss the views of the parties about the technical and other qualiﬁcations of
        the arbitrators;
    (c) to obtain conﬂicts statements from the parties; and
    (d) to consider, with the parties, whether mediation or other non-adjudicative
        methods of dispute resolution might be appropriate.

    L-2. Arbitrators

    (a) Large, complex commercial cases shall be heard and determined by either one
        or three arbitrators, as may be agreed upon by the parties. With the exception
        in paragraph (b) below, if the parties are unable to agree upon the number of
        arbitrators and a claim or counterclaim involves at least $1,000,000, then three
        arbitrator(s) shall hear and determine the case. If the parties are unable to
        agree on the number of arbitrators and each claim and counterclaim is less than
        $1,000,000, then one arbitrator shall hear and determine the case.
    (b) In cases involving the ﬁnancial hardship of a party or other circumstance, the AAA
        at its discretion may require that only one arbitrator hear and determine the case,
        irrespective of the size of the claim involved in the dispute.
    (c) The AAA shall appoint arbitrator(s) as agreed by the parties. If they are unable to
        agree on a method of appointment, the AAA shall appoint arbitrators from the
        Large, Complex Commercial Case Panel, in the manner provided in the regular
        Commercial Arbitration Rules. Absent agreement of the parties, the arbitrator(s)
        shall not have served as the mediator in the mediation phase of the instant
        proceeding.




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    L-3. Management of Proceedings

    (a) The arbitrator shall take such steps as deemed necessary or desirable to avoid
        delay and to achieve a fair, speedy and cost-effective resolution of a Large,
        Complex Commercial Dispute.
    (b) As promptly as practicable after the selection of the arbitrator(s), a preliminary
        hearing shall be scheduled in accordance with sections P-1 and P-2 of these rules.
    (c) The parties shall exchange copies of all exhibits they intend to submit at the
        hearing at least 10 calendar days prior to the hearing unless the arbitrator(s)
        determines otherwise.
    (d) The parties and the arbitrator(s) shall address issues pertaining to the pre-hearing
        exchange and production of information in accordance with rule R-22 of the AAA
        Commercial Rules, and the arbitrator’s determinations on such issues shall be
        included within the Scheduling and Procedure Order.
    (e) The arbitrator, or any single member of the arbitration tribunal, shall be authorized
        to resolve any disputes concerning the pre-hearing exchange and production of
        documents and information by any reasonable means within his discretion,
        including, without limitation, the issuance of orders set forth in rules R-22 and R-23
        of the AAA Commercial Rules.
    (f) In exceptional cases, at the discretion of the arbitrator, upon good cause shown
        and consistent with the expedited nature of arbitration, the arbitrator may order
        depositions to obtain the testimony of a person who may possess information
        determined by the arbitrator to be relevant and material to the outcome of the
        case. The arbitrator may allocate the cost of taking such a deposition.
    (g) Generally, hearings will be scheduled on consecutive days or in blocks of
        consecutive days in order to maximize efﬁciency and minimize costs.


    Administrative Fee Schedules (Standard and Flexible Fees)

    FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
    www.adr.org/feeschedule.




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    Commercial Mediation Procedures

    M-1. Agreement of Parties

    Whenever, by stipulation or in their contract, the parties have provided for
    mediation or conciliation of existing or future disputes under the auspices of the
    American Arbitration Association or under these procedures, the parties and
    their representatives, unless agreed otherwise in writing, shall be deemed to
    have made these procedural guidelines, as amended and in effect as of the date
    of ﬁling of a request for mediation, a part of their agreement and designate the
    AAA as the administrator of their mediation.

    The parties by mutual agreement may vary any part of these procedures
    including, but not limited to, agreeing to conduct the mediation via telephone or
    other electronic or technical means.

    M-2. Initiation of Mediation

    Any party or parties to a dispute may initiate mediation under the AAA’s auspices
    by making a request for mediation to any of the AAA’s regional ofﬁces or case
    management centers via telephone, email, regular mail or fax. Requests for
    mediation may also be ﬁled online via WebFile at www.adr.org.

    The party initiating the mediation shall simultaneously notify the other party or
    parties of the request. The initiating party shall provide the following information
    to the AAA and the other party or parties as applicable:

          (i) A copy of the mediation provision of the parties’ contract or the parties’
              stipulation to mediate.
          (ii) The names, regular mail addresses, email addresses, and telephone numbers
               of all parties to the dispute and representatives, if any, in the mediation.
          (iii) A brief statement of the nature of the dispute and the relief requested.
          (iv) Any speciﬁc qualiﬁcations the mediator should possess.

    M-3. Representation

    Subject to any applicable law, any party may be represented by persons of the
    party’s choice. The names and addresses of such persons shall be communicated
    in writing to all parties and to the AAA.




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    M-4. Appointment of the Mediator

    If the parties have not agreed to the appointment of a mediator and have not
    provided any other method of appointment, the mediator shall be appointed in
    the following manner:

         (i) Upon receipt of a request for mediation, the AAA will send to each party a list
             of mediators from the AAA’s Panel of Mediators. The parties are encouraged
             to agree to a mediator from the submitted list and to advise the AAA of their
             agreement.
         (ii) If the parties are unable to agree upon a mediator, each party shall strike
              unacceptable names from the list, number the remaining names in order of
              preference, and return the list to the AAA. If a party does not return the list
              within the time speciﬁed, all mediators on the list shall be deemed
              acceptable. From among the mediators who have been mutually approved
              by the parties, and in accordance with the designated order of mutual
              preference, the AAA shall invite a mediator to serve.
         (iii) If the parties fail to agree on any of the mediators listed, or if acceptable
               mediators are unable to serve, or if for any other reason the appointment
               cannot be made from the submitted list, the AAA shall have the authority to
               make the appointment from among other members of the Panel of Mediators
               without the submission of additional lists.

    M-5. Mediator’s Impartiality and Duty to Disclose

    AAA mediators are required to abide by the Model Standards of Conduct for
    Mediators in effect at the time a mediator is appointed to a case. Where there
    is a conﬂict between the Model Standards and any provision of these Mediation
    Procedures, these Mediation Procedures shall govern. The Standards require
    mediators to (i) decline a mediation if the mediator cannot conduct it in an
    impartial manner, and (ii) disclose, as soon as practicable, all actual and potential
    conﬂicts of interest that are reasonably known to the mediator and could
    reasonably be seen as raising a question about the mediator’s impartiality.

    Prior to accepting an appointment, AAA mediators are required to make a
    reasonable inquiry to determine whether there are any facts that a reasonable
    individual would consider likely to create a potential or actual conﬂict of interest
    for the mediator. AAA mediators are required to disclose any circumstance likely
    to create a presumption of bias or prevent a resolution of the parties’ dispute
    within the time-frame desired by the parties. Upon receipt of such disclosures,
    the AAA shall immediately communicate the disclosures to the parties for their
    comments.


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    The parties may, upon receiving disclosure of actual or potential conﬂicts of
    interest of the mediator, waive such conﬂicts and proceed with the mediation.
    In the event that a party disagrees as to whether the mediator shall serve, or in
    the event that the mediator’s conﬂict of interest might reasonably be viewed as
    undermining the integrity of the mediation, the mediator shall be replaced.

    M-6. Vacancies

    If any mediator shall become unwilling or unable to serve, the AAA will appoint
    another mediator, unless the parties agree otherwise, in accordance with section
    M-4.

    M-7. Duties and Responsibilities of the Mediator

          (i) The mediator shall conduct the mediation based on the principle of party
              self-determination. Self-determination is the act of coming to a voluntary,
              uncoerced decision in which each party makes free and informed choices as
              to process and outcome.
          (ii) The mediator is authorized to conduct separate or ex parte meetings and
               other communications with the parties and/or their representatives, before,
               during, and after any scheduled mediation conference. Such communications
               may be conducted via telephone, in writing, via email, online, in person or
               otherwise.
          (iii) The parties are encouraged to exchange all documents pertinent to the relief
                requested. The mediator may request the exchange of memoranda on issues,
                including the underlying interests and the history of the parties’ negotiations.
                Information that a party wishes to keep conﬁdential may be sent to the
                mediator, as necessary, in a separate communication with the mediator.
          (iv) The mediator does not have the authority to impose a settlement on the
               parties but will attempt to help them reach a satisfactory resolution of their
               dispute. Subject to the discretion of the mediator, the mediator may make
               oral or written recommendations for settlement to a party privately or, if the
               parties agree, to all parties jointly.
          (v) In the event a complete settlement of all or some issues in dispute is not
              achieved within the scheduled mediation session(s), the mediator may
              continue to communicate with the parties, for a period of time, in an ongoing
              effort to facilitate a complete settlement.
          (vi) The mediator is not a legal representative of any party and has no ﬁduciary
               duty to any party.




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    M-8. Responsibilities of the Parties

    The parties shall ensure that appropriate representatives of each party, having
    authority to consummate a settlement, attend the mediation conference.

    Prior to and during the scheduled mediation conference session(s) the parties
    and their representatives shall, as appropriate to each party’s circumstances,
    exercise their best efforts to prepare for and engage in a meaningful and
    productive mediation.

    M-9. Privacy

    Mediation sessions and related mediation communications are private
    proceedings. The parties and their representatives may attend mediation
    sessions. Other persons may attend only with the permission of the parties and
    with the consent of the mediator.

    M-10. Conﬁdentiality

    Subject to applicable law or the parties’ agreement, conﬁdential information
    disclosed to a mediator by the parties or by other participants (witnesses) in the
    course of the mediation shall not be divulged by the mediator. The mediator
    shall maintain the conﬁdentiality of all information obtained in the mediation,
    and all records, reports, or other documents received by a mediator while serving
    in that capacity shall be conﬁdential.

    The mediator shall not be compelled to divulge such records or to testify in
    regard to the mediation in any adversary proceeding or judicial forum.

    The parties shall maintain the conﬁdentiality of the mediation and shall not rely
    on, or introduce as evidence in any arbitral, judicial, or other proceeding the
    following, unless agreed to by the parties or required by applicable law:

         (i) Views expressed or suggestions made by a party or other participant with
             respect to a possible settlement of the dispute;
         (ii) Admissions made by a party or other participant in the course of the
              mediation proceedings;
         (iii) Proposals made or views expressed by the mediator; or
         (iv) The fact that a party had or had not indicated willingness to accept a proposal
              for settlement made by the mediator.



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    M-11. No Stenographic Record

    There shall be no stenographic record of the mediation process.

    M-12. Termination of Mediation

    The mediation shall be terminated:

          (i) By the execution of a settlement agreement by the parties; or
          (ii) By a written or verbal declaration of the mediator to the effect that further
               efforts at mediation would not contribute to a resolution of the parties’
               dispute; or
          (iii) By a written or verbal declaration of all parties to the effect that the mediation
                proceedings are terminated; or
          (iv) When there has been no communication between the mediator and any party
               or party’s representative for 21 days following the conclusion of the mediation
               conference.

    M-13. Exclusion of Liability

    Neither the AAA nor any mediator is a necessary party in judicial proceedings
    relating to the mediation. Neither the AAA nor any mediator shall be liable to
    any party for any error, act or omission in connection with any mediation
    conducted under these procedures.

    M-14. Interpretation and Application of Procedures

    The mediator shall interpret and apply these procedures insofar as they relate
    to the mediator’s duties and responsibilities. All other procedures shall be
    interpreted and applied by the AAA.

    M-15. Deposits

    Unless otherwise directed by the mediator, the AAA will require the parties to
    deposit in advance of the mediation conference such sums of money as it, in
    consultation with the mediator, deems necessary to cover the costs and expenses
    of the mediation and shall render an accounting to the parties and return any
    unexpended balance at the conclusion of the mediation.




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    M-16. Expenses

    All expenses of the mediation, including required traveling and other expenses
    or charges of the mediator, shall be borne equally by the parties unless they
    agree otherwise. The expenses of participants for either side shall be paid by the
    party requesting the attendance of such participants.

    M-17. Cost of the Mediation

    FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
    www.adr.org/feeschedule.




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                        EXHIBIT D




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 Consumer-Related Disputes Supplementary PROCEDURES


 Effective September 15, 2005

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 The AAA's Consumer Rules

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 Arbitrator's Fees

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 Respondent

 ADR Process

 Arbitration

 Desk Arbitration

 Telephone Hearing

 In Person Hearing

 Mediation

 Neutral

 Case Manager

 ADR Agreement

 ADR Program

 Independent ADR Institution

 Resolution of Consumer-Related Disputes Supplementary Procedures

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 Administrative Fees

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 Fees and Deposits to be Paid by the Consumer:

 Fees and Deposits to be Paid by the Business:

 INTRODUCTION

 Millions of consumer purchases take place each year. Occasionally, these transactions lead to
 disagreements between consumers and businesses. These disputes can be resolved by arbitration.
 Arbitration is usually faster and cheaper than going to court.

 The AAA applies the Supplementary Procedures for Consumer-Related Disputes to arbitration
 clauses in agreements between individual consumers and businesses where the business has a
 standardized, systematic application of arbitration clauses with customers and where the terms
 and conditions of the purchase of standardized, consumable goods or services are non-negotiable
 or primarily non-negotiable in most or all of its terms, conditions, features, or choices. The
 product or service must be for personal or household use. The AAA will have the discretion to
 apply or not to apply the Supplementary Procedures and the parties will be able to bring any
 disputes concerning the application or non-application to the attention of the arbitrator.
 Consumers are not prohibited from seeking relief in a small claims court for disputes or claims
 within the scope of its jurisdiction, even in consumer arbitration cases filed by the business.

 About the AAA

 The American Arbitration Association (AAA) is a not-for-profit, private organization. We offer
 a broad range of conflict management services to businesses, organizations and individuals. We
 also provide education, training and publications focused on ways of settling disputes out of
 court.

 The AAA's Consumer Rules

 The AAA has developed the Supplementary Procedures for Consumer-Related Disputes for
 consumers and businesses that want to have their disagreements resolved by arbitrators. People



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 throughout the world can make use of our services.

 Availability of Mediation

 Mediation is also available to help parties resolve their disputes. Mediations are handled under
 AAA's Commercial Mediation Procedures.

 Administrative Fees

 The Association charges a fee for its services under these rules. The costs to the consumer and
 business depend on the size and nature of the claims. A fee schedule is included at the end of this
 Supplement. In certain cases, fees paid by the consumer are fully refundable if the dispute is
 settled before the arbitrator takes any action.

 Arbitrator's Fees

 Arbitrators get paid for the time they spend resolving disputes. The arbitrator's fee depends on
 the type of proceeding that is used and the time it takes. The parties make deposits as outlined in
 the fee schedule at the end of this Supplement. Unused deposits are refunded at the end of the
 case.

 GLOSSARY OF TERMS

 Claimant

 A Claimant is the party who files the claim or starts the arbitration. Either the consumer or the
 business may be the Claimant.

 Respondent

 A Respondent is the party against whom the claim is filed. If a Respondent states a claim in
 arbitration, it is called a counterclaim. Either the consumer or the business may be the
 Respondent.

 ADR Process

 An ADR (Alternative Dispute Resolution) Process is a method of resolving a dispute out of
 court. Mediation and Arbitration are the most widely used ADR processes.

 Arbitration

 In arbitration, the parties submit disputes to an impartial person (the arbitrator) for a decision.
 Each party can present evidence to the arbitrator. Arbitrators do not have to follow the Rules of
 Evidence used in court.

 Arbitrators decide cases with written decisions or "awards." An award is usually binding on the
 parties. A court may enforce an arbitration award, but the court's review of arbitration awards is
 limited.




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 Desk Arbitration

 In a Desk Arbitration, the parties submit their arguments and evidence to the arbitrator in
 writing. The arbitrator then makes an award based only on the documents. No hearing is held.

 Telephone Hearing

 In a Telephone Hearing, the parties have the opportunity to tell the arbitrator about their case
 during a conference call. Often this is done after the parties have sent in documents for the
 arbitrator to review. A Telephone Hearing can be cheaper and easier than an In Person Hearing.

 In Person Hearing

 During an In Person Hearing, the parties and the arbitrator meet in a conference room or office
 and the parties present their evidence in a process that is similar to going to court. However, an
 In Person Hearing is not as formal as going to court.

 Mediation

 In Mediation, an impartial person (the mediator) helps the parties try to settle their dispute by
 reaching an agreement together. A mediator's role is to help the parties come to an agreement. A
 mediator does not arbitrate or decide the outcome.

 Neutral

 A Neutral is a word that is used to describe someone who is a mediator, arbitrator, or other
 independent, impartial person selected to serve as the independent third party in an ADR
 process.

 Case Manager

 The Case Manager is the AAA's employee assigned to handle the administrative aspects of the
 case. He or she does not decide the case. He or she only manages the case's administrative steps,
 such as exchanging documents, matching schedules, and setting up hearings. The Case Manager
 is the parties' contact point for almost all aspects of the case outside of any hearings.

 ADR Agreement

 An ADR Agreement is an agreement between a business and a consumer to submit disputes to
 mediation, arbitration, or other ADR processes.

 ADR Program

 An ADR Program is any program or service set up or used by a business to resolve disputes out
 of court.

 Independent ADR Institution




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 An Independent ADR Institution is an organization that provides independent and impartial
 administration of ADR programs for consumers and businesses. The American Arbitration
 Association is an Independent ADR Institution.

 SUPPLEMENTARY PROCEDURES FOR THE RESOLUTION OF CONSUMER-RELATED
 DISPUTES

 C-1. Agreement of Parties and Applicability

 (a) The Commercial Dispute Resolution Procedures and these Supplementary Procedures for
 Consumer-Related Disputes shall apply whenever the American Arbitration Association (AAA)
 or its rules are used in an agreement between a consumer and a business where the business has a
 standardized, systematic application of arbitration clauses with customers and where the terms
 and conditions of the purchase of standardized, consumable goods or services are non-negotiable
 or primarily non-negotiable in most or all of its terms, conditions, features, or choices. The
 product or service must be for personal or household use. The AAA will have the discretion to
 apply or not to apply the Supplementary Procedures and the parties will be able to bring any
 disputes concerning the application or non-application to the attention of the arbitrator. The
 AAA's most current rules will be used when the arbitration is started. If there is a difference
 between the Commercial Dispute Resolution Procedures and the Supplementary Procedures, the
 Supplementary Procedures will be used. The Commercial Dispute Resolution Procedures may be
 found on our Web site. They may also be obtained from the Case Manager.

 (b) The Expedited Procedures will be used unless there are three arbitrators. In such cases, the
 Commercial Dispute Resolution Procedures shall apply.

 (c) The AAA may substitute another set of rules, such as the Real Estate or the Wireless Industry
 Arbitration Rules, for the Commercial Dispute Resolution Procedures in some cases.

 (d) Parties can still take their claims to a small claims court.

 C-2. Initiation Under an Arbitration Agreement

 (a) The filing party (the "claimant") must notify the other party (the "respondent"), in writing,
 that it wishes to arbitrate a dispute. This notification is referred to as the "demand" for
 arbitration. The demand should:

 ' briefly explain the dispute,

 ' list the names and addresses of the consumer and the business,

 ' specify the amount of money involved,

 ' state what the claimant wants.

 The claimant must also send two copies of the demand to the AAA at the time it sends the
 demand to the respondent. When sending a demand to the AAA, the claimant must attach a copy




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 of the arbitration agreement from the consumer contract with the business. The claimant must
 also send the appropriate administrative fees and deposits. A fee schedule can be found in
 Section C-8 at the end of this Supplement.

 (b) The AAA shall confirm receipt of the demand to the parties.

 (c) The respondent may answer the demand and may also file a counterclaim. The answer must
 be sent to the AAA within ten calendar days after the AAA acknowledges receipt of claimant's
 demand. The answer must:

 ' be in writing,

 ' be sent, in duplicate, to the AAA,

 ' be sent to the claimant at the same time.

 ' If the respondent has a counterclaim, it must state the nature of the counterclaim, the amount
 involved, and the remedy sought.

 (d) If no answer is filed within the stated time, the AAA will assume that the respondent denies
 the claim.

 (e) The respondent must also send the appropriate administrative fees and deposits. A fee
 schedule can be found in Section C-8 at the end of this Supplement. Payment is due ten calendar
 days after the AAA acknowledges receipt of claimant's demand.

 C-3. Initiation Under a Submission

 Where no agreement to arbitrate exists in the contract between the consumer and the business,
 the parties may agree to arbitrate a dispute. To begin arbitration, the parties must send the AAA
 a submission agreement. The submission agreement must:

 ' be in writing,

 ' be signed by both parties,

 ' briefly explain the dispute,

 ' list the names and addresses of the consumer and the business,

 ' specify the amount of money involved,

 ' state the solution sought.

 The parties should send two copies of the submission to the AAA. They must also send the
 administrative fees and deposits. A fee schedule can be found in Section C-8 at the end of this
 Supplement.

 C-4. Appointment of Arbitrator



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 Immediately after the filing of the submission or the answer, or after the deadline for filing the
 answer, the AAA will appoint an arbitrator. The parties will have seven calendar days from the
 time the AAA notifies them, to submit any factual objections to that arbitrator's service.

 C-5. Proceedings on Documents ("Desk Arbitration")

 Where no claims or counterclaims exceed $10,000, the dispute shall be resolved by the
 submission of documents. Any party, however, may ask for a hearing. The arbitrator may also
 decide that a hearing is necessary.

 The arbitrator will establish a fair process for submitting the documents. Documents must be
 sent to the AAA. These will be forwarded to the arbitrator.

 C-6. Expedited Hearing Procedures

 A party may request that the arbitrator hold a hearing. This hearing may be by telephone or in
 person. The hearing may occur even if the other party does not attend. A request for a hearing
 should be made in writing within ten calendar days after the AAA acknowledges receipt of a
 claimant's demand for arbitration. Requests received after that date will be allowed at the
 discretion of the arbitrator.

 In a case where any party's claim exceeds $10,000, the arbitrator will conduct a hearing unless
 the parties agree not to have one.

 Any hearings will be conducted in accordance with the Expedited Procedures of the Commercial
 Dispute Resolution Procedures. These procedures may be found on our Web site. They may also
 be obtained from the Case Manager.

 C-7. The Award

 (a) Unless the parties agree otherwise, the arbitrator must make his or her award within fourteen
 calendar days from the date of the closing of the hearing. For Desk Arbitrations, the arbitrator
 has fourteen calendar days from when the AAA sends the final documents to the arbitrator.

 (b) Awards shall be in writing and shall be executed as required by law.

 (c) In the award, the arbitrator should apply any identified pertinent contract terms, statutes, and
 legal precedents. The arbitrator may grant any remedy, relief or outcome that the parties could
 have received in court. The award shall be final and binding. The award is subject to review in
 accordance with applicable statutes governing arbitration awards.

 C-8. Administrative Fees and Arbitrator Fees*

 Administrative fees and arbitrator compensation deposits are due from the claimant at the time a
 case is filed. They are due from the respondent at the time the answer is due. The amounts paid
 by the consumer and the business are set forth below.




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 *Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross
 monthly income of less than 300% of the federal poverty guidelines are entitled to a waiver of
 arbitration fees and costs, exclusive of arbitrator fees. This law applies to all consumer
 agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted
 in California. If you believe that you meet these requirements, you must submit to the AAA a
 declaration under of oath regarding your monthly income and the number of persons in your
 household. Please contact the AAA's Western Case Management Center at 1-877-528-0879, if
 you have any questions regarding the waiver of administrative fees. (Effective January 1, 2003)

 Administrative Fees

 Administrative fees are based on the size of the claim and counterclaim in a dispute. They are
 based only on the actual damages and not on any additional damages, such as attorneys' fees or
 punitive damages. Portions of these fees are refundable pursuant to the Commercial Fee
 Schedule.

 Arbitrator Fees

 For cases in which no claim exceeds $75,000, arbitrators are paid based on the type of
 proceeding that is used. The parties make deposits as set forth below. Any unused deposits are
 returned at the end of the case.

 Desk Arbitration or Telephone Hearing $250 for service on the case
 In Person Hearing $750 per day of hearing

 For cases in which a claim or counterclaim exceeds $75,000, arbitrators are compensated at the
 rates set forth on their panel biographies.

 Fees and Deposits to be Paid by the Consumer:

 If the consumer's claim or counterclaim does not exceed $10,000, then the consumer is
 responsible for one-half the arbitrator's fees up to a maximum of $125. This deposit is used to
 pay the arbitrator. It is refunded if not used.

 If the consumer's claim or counterclaim is greater than $10,000, but does not exceed $75,000,
 then the consumer is responsible for one-half the arbitrator's fees up to a maximum of $375. This
 deposit is used to pay the arbitrator. It is refunded if not used.

 If the consumer's claim or counterclaim exceeds $75,000, or if the consumer's claim or
 counterclaim is non-monetary, then the consumer must pay an Administrative Fee in accordance
 with the Commercial Fee Schedule. A portion of this fee is refundable pursuant to the
 Commercial Fee Schedule. The consumer must also deposit one-half of the arbitrator's
 compensation. This deposit is used to pay the arbitrator. This deposit is refunded if not used. The
 arbitrator's compensation rate is set forth on the panel biography provided to the parties when the
 arbitrator is appointed.

 Fees and Deposits to be Paid by the Business:



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Administrative Fees:

If neither party's claim or counterclaim exceeds $10,000, the business must pay $750 and a Case
Service Fee of $200 if a hearing is held. A portion of this fee is refundable pursuant to the
Commercial Fee Schedule.

If either party's claim or counterclaim exceeds $10,000, but does not exceed $75,000, the
business must pay $950 and a Case Service Fee of $300 if a hearing is held. A portion of this fee
is refundable pursuant to the Commercial Fee Schedule.

If the business's claim or counterclaim exceeds $75,000 or if the business's claim or counterclaim
is non-monetary, the business must pay an Administrative Fee in accordance with the
Commercial Fee Schedule. A portion of this fee is refundable pursuant to the Commercial Fee
Schedule.

Arbitrator Fees:

The business must pay for all arbitrator compensation deposits beyond those that are the
responsibility of the consumer. These deposits are refunded if not used.

If a party fails to pay its fees and share of the administrative fee or the arbitrator compensation
deposit, the other party may advance such funds. The arbitrator may assess these costs in the
award.

For more information please contact our customer service department at 1-800-778-7879

Rules, forms, procedures and guides are subject to periodic change and updating.

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